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8 (Pages 2471 to 2474)

 

Page 2471

   
 
 
  
  
  
  
  
  
  
  
   
  
  
  

Page 2473 —

 

1 mean, I take Mr. Cole's word for it. I don't remember 1 bar.
2 that. 2 THE COURT: (Reading.) Okay. Is this the
3 THE COURT: I don't either. 3 same book? I don't think so.
4 MR. COLE: You showed SAS-58. 4 MR. THOMAS: It's different but --
5 MR. THOMAS: I take your word for it. I 5 MR. COLE: It would be an excerpt, one of
6  don'tremember. But it's not bolstering to show that my 6 the rules in that book.
7 expert is the one that was involved in writing the rules 7 THE COURT: Yeah. (Reading.} Mr. Cole, the
8 that apply to this case. That's not bolstering. That's 8 problem, the difference here, is that you had no
9 part of his qualifications as an expert. 9 objection of this book coming into evidence. Once it
10 THE COURT: No. Show -- pull the transcript 10 comes into evidence -- SAS-67 was in evidence. No, I
11 out. Because I don't know how you're going to do this. 11 believe so. I don't know what 7315 was.
12 MR. THOMAS: I'm actually not going to do 12 MR. COLE: SAS-67 was in evidence. We've
13 that. That's not what I'm going to do. 13 been using it this entire time. It's the exception on
14 MR. COLE: And remember, this is an expert. 14 confirmations where what Mr. Thomas was going to do was
15 He is an ethics expert and he's not here to opine on 15 go to the last page and show that Mr. Guy was involved,
16 what the standards that we've gone through for the last 16 I guess, in writing the rules. But that --
17 three weeks. He's opining on a limited issue. He's 17 MR. THOMAS: It is in evidence but he's my
18 here -- Jim Feltman was here to opine -- 18 expert. This is part of his expertise that I'm able to
19 MR. THOMAS: And part of his qualifications, 19 show to the jury.
20 he helped write the rules, and that's why I've qualified 20 THE COURT: What are you going to ask him?
21 him. In fact, I guarantee that Mr. Cole is going to 21 MR. THOMAS: I'm going to show him the book.
22 attack him for not spending more time out there auditing —|/22 I'mnot going to ask him the copyright. I'm going to
23 _ like he did Feltman, and he's going to attack him that 23 show that the rules are signed by him at the beginning.
24 then I have to show his other qualifications, and his 24 THE COURT: Let me see the book.
25 _ chief qualification, the reason we hired him, is because 25 MR. THOMAS: (Complies.)
Page 2472 Page 24746
1 he helped write the rules. But he already said, I write 1 THE COURT: (Reading.) What are you going
2 the rules. And I can show that. 2 to show him?
3 MR. COLE: Over objection, he said that. 3 MR. THOMAS: (Indicating.)
4 THE COURT: I don't know what the question 4 THE COURT: (Reading.)
5 is going to be. If he's going to testify on something 5 MR. THOMAS: Foreword.
6 other than what he's an expert in, including writing the 6 THE COURT: Why don't you do the same thing
7 ~~ rules, then it's -- 7 you did last time. He can look at the transcript but
8 MR. THOMAS: That's part of his 8 don't show him the book. The jury can --
9 qualifications. 9 MR. THOMAS: He's my expert. And he didn't
10 MR. COLE: If you're going to show him the 10 do-
11 ethics rule -- 11 THE COURT: And then you can redirect if he
12 THE COURT: You can qualify that if you 12 attacks him on that.
13. wish. I don't know what other questions you're going to 913 MR. THOMAS: Do what?
14 ask. 14 MR. COLE: If I do what?
15 MR. THOMAS: I have one thing to do with 15 THE COURT: If you attack him on his
16 this book, the copyright, and then I'm moving on. 16 expertise, then we'll see what happens then. You can
17 MR. COLE: I think it's bolstering, Judge. 17 redirect.
18 = This is the way you ruled last time. 18 MR. THOMAS: I'm sorry, Judge --
19 MR. THOMAS: It's not bolstering to qualify 19 THE COURT: Mr. Cole --
20 your expert. 20 MR. THOMAS: -- I don't actually remember
21 THE COURT: Take it out. 21 what I did last time.
22 MR. COLE: Okay. (Complies.) 22 THE COURT: -- I read it.
23 THE COURT: I don't remember. 23 MR. COLE: First of all -- the two years --
24 MR. COLE: It begins on page 83. Mr. Thomas $24 MR. THOMAS: Can I just, please -- so I
25 _ is about to ask about SAS-67. Then we went into side 25 can't show him this?

    
  
   
  
  
   
  
   
 
  
  
      

 

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9 (Pages 2475 to 2478)

 

    
   
   
   
 
   
  
   
  
  
   
  
  
   
  
   
  
   

 

  

 

 

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Page 2475 Page 2477 §

1 THE COURT: Right. 1 A. For outstanding contributions to audit

2 MR. THOMAS: Is that the bottom line? 2 quality in the United States, for the work I had done

3 THE COURT: Right. 3 both prior to joining the AICPA in textbooks and

4 MR. COLE: His expertise is lack of an audit 4 accounting education regarding auditing, but primarily

5 experience in the field he's already testified to on 5 for the work at the auditing standards board and working

6 direct. -6 ina way with the ASB to make sure that the standards

7 MR. THOMAS: If he attacks him on that, then 7 that we developed meshed and met the public interest

8 that's where I get this. 8 needs.

9 THE COURT: If he attacks him on that, you 9 MR. THOMAS: Your Honor, may I approach?
10 can redirect him. 10 THE COURT: You may.

11 MR. COLE: He's already testified to it. 11 MR. THOMAS: (Complies.)
12 (Thereupon, the side-bar conference was 12 BY MR. THOMAS:
13 concluded.) 13 Q. I'm going to show you what's been marked as
14 MR. THOMAS: May I approach, Your Honor? 14 ‘Plaintiffs’ Exhibit 7313 for ID.
15 THE COURT: You may. 15 Is that a copy of the award you received,
16 MR. THOMAS: (Complies.) 16 = Dr. Guy?
17 BY MR: THOMAS: 17 A. Yes, itis.
18 Q. Dr. Guy, the copyright of this book is 1997. 18 MR. THOMAS: At this time plaintiffs move
19 Did I get that right? 19 into evidence, Your Honor, Plaintiffs’ Exhibit 7313
20 A. Yes. 20 marked for ID.
21 Q. But they issued -- if there's any changes, 21 MR. COLE: Object on the grounds of hearsay.
22 they issue the rules each year? 22 THE COURT: Overruled.
23 A. They basically -- that's an AICPA 23 MR. COLE: And bolstering.
24 publication that's published once a year, and there are | 24 THE COURT: Overruled.
25 always changes. 25 What's the number again, I'm sorry?
Page 2476 Page 2478 ;

1 Q. And these are the rules that you helped 1 MR. THOMAS: 7313.

2 write? 2 THE COURT: Plaintiffs’ Exhibit 7313 for ID

3 A. That's correct. 3 is now Plaintiffs’ 7313 into evidence.

4 Q. Dr. Guy, when did you leave the AICPA? 4 BY MR. THOMAS:

5 A. I'd been there, as I said, for almost 5 Q. Iapologize, Dr. Guy, for the copy. The

6 19 years. I wanted to, quote, repot myself. I 6 copy of the certificate, is that what you understand

7 wanted -- I had some books that I wanted to write, some 7 Plaintiffs’ Exhibit 7313 in evidence is?

8 new books I wanted to do, which I did, and I wanted to 8 A. Yes,

9 spend more time down in New Mexico, where I had a home 9 Q. And it says down there that Mr. Guy joined
10 in Santa Fe, New Mexico. 10 ‘the AICPA as director of auditing research in 1979,
11 Q. And this is when you left the AICPA, did you 11 became vice president of auditing in 1983, and vice
i2 receive the John J. McCloy award? 12 president of professional standards and services in
13 A. After I left the AICPA, yes, I received the 13 1996?

14 John J. McCloy award. Yes. 14 A. Yes.

15 Q. And who gave you that award? 15 Q. Is that's what you were telling us before?

16 A. It was an award bestowed by the public 16 A. That's correct.

17 oversight board of the SEC practice session, a division 17 Q. And then it goes on to discuss your career
18 of firms at the division of CPA. 18 inteaching. You see that?

19 Q. Soit was a division of the auditing firms 19 A. Yes, Ido.

20 who gave you this award? 20 Q. And then it says, during Mr. Guy's tenure as
21 A. By the POB which supervised the division of 21 vice president, the AICPA issued more than 40 statements
22 firms, yes, that's correct. 22 of auditing standards and all the statements on

23 Q. And the division of firms included BDO? 23 standards for attestation engagements.

24 A. That's correct. 24 What are attestation engagements?

25 Q. And what did you receive this award for? 25 A. Where auditors provide assurity,

 
   
   
   
  
  
  
  
    
  
  
    
   
   
  

   

  
 
 

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10 (Pages 2479 to 2482)
Page 2479 Page 2481 ff
1 believability, credibility, the information that is not 1 MR. THOMAS: Can we go to the first one,
2 financial statements. 2 please?
3 For example, a company has certain internal 3 (Technician complies.)
4 controls, any one of the things auditors do is look at 4 BY MR. THOMAS:
5 the internal control systems to provide assurances, an 5 Q. And you have a doctorate in accountancy from
6 opinion, if you will, on that. It's not financial 6 the University of Alabama?
7 statements. And so attest is a very broadly used word 7 A. Ido.
8 and it covers all kinds of assurances that CPAs, as 8 Q. And part of your experience is teaching?
9 auditors, provide in addition to opinions on financial 9 A. That's correct.
10 statements. 10 Q. And your teaching experience is that you
11 Q. Thank you, Dr. Guy. If we look at the next 11 taught accounting, auditing, and ethics for eight years
12 page at the top, it says, Mr. Guy's intellect, his 12 at Texas Tech and the University of Texas?
13 conceptual -- can you help me with that next word? 13 A. That's correct.
14 A. I think it's understanding. 14 Q. And your work experience included that time
15 Q. Yeah. That's what I thought. 15 you spent in between getting your masters -- college
16 His conceptual understanding -- 16 degree and masters and masters and doctorate working at
17 MR. COLE: Objection. 17 Peat Marwick?
18 THE COURT: Sustained. 18 A. That's correct.
19 MR. THOMAS: I'm sorry, Your Honor? 19 Q. And then over the time period that you were
20 THE COURT: Sustained. 20 teaching for those years at Texas Tech, you also acted
21 MR. THOMAS: Well, can we blow up that 21 as a consultant for some of the large accounting firms? .
22 paragraph, please? 22 A. Idid.
23 THE COURT: That's it. No more questions. 23 Q. And as part of your job being a consultant é
24 MR. THOMAS: I wasn't going to ask a 24 you assisted practitioners by answering their questions F
25 question other than to confirm this was part of the 25 with things they couldn't resolve?
Page 2480 Page 24828
1 award. I wasn't going to read it. But it's very 1 A. That's correct. i
2 difficult to see. 2 Q. And for helping draft the rules that they :
3 THE COURT: Ask him a question. 3 _ would follow within their firm?
4 BY MR. THOMAS: 4 A. That's correct.
5 Q. Dr. Guy, when you received the John J. 5 Q. And then you worked at the AICPA for :
6 McCloy award for your services to the public interest, 6 19 years -- ;
7 did you understand that the certificate set forth the 7 A. Almost 19 -- 18 years. :
8 qualities and the reasons for which you were being given 8 Q. -- 18 years helping to draft the rules,
9 the award? 9 Now, up in the right it says, materials
10 MR. COLE: Bolstering. 10 co-authored: SAS-67, the confirmation process. H
11 THE COURT: Overruled. gil Was that during the time you were at the :
12 THE WITNESS: Yes, I didn’t and that's set 12 AICPA? ;
13 forth in this first paragraph. 13 A. That's correct and that's in this blue and :
14 MR. COLE: Judge, highlighting the paragraph 14 gold book. That's one of the statements on auditing :
15 is bolstering. 15 standards that -- an SAS I refer to -- this part of ;
16 THE COURT: Sustained. 16 — generally-accepted auditing standards. :
17 MR. THOMAS: Your Honor, without objection, 17 Q. And you also drafted confirmations of ;
18 may I approach the witness? 18 accounts receivable, the first and second editions? :
19 THE COURT: You may. 19 A. Yes, I was the primary author of those two. :
20 MR. THOMAS: (Complies.) 20 Not authoritative studies help practitioners do a better :
21 BY MR. THOMAS: 21 job with confirmations of accounts receivable. :
22 Q. Dr. Guy, we've covered some -- a lot of 22 Q. And the SEC mandated and approved
23 ground here in the beginning and we're going to use 23 independence education programs for CPAs. Fi
24 these demonstratives with your approval just to walk 24 Was that done after you left the AICPA? :
25 through what we've talked about. ,

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A. Yes, that was after J left the AICPA.

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11 (Pages 2483 to 2486)

 

 

   
   
  
  
   
   
  
    
   
  
  
    
   
  
 

 

Page 2483 Page 2485 ff
1 Q. And independence, that is meaning that a -- 1 A. I think around 2000 if memory serves me :
2 MR. COLE: Objection. Leading. 2 correctly. That's a second edition that you're holding.
3 THE COURT: Let him finish the question. 3 Q. And in 2000 when you wrote the first edition
4 BY MR. THOMAS: 4 of this book on ethics, had you published other books by
5 Q. Independence, does that mean a situation 5 then?
6 where a firm doing an audit like BDO -- 6 A. A large number of these and others, yes.
7 THE COURT: Sustained. 7 Q. And when you went to your publisher to tell
8 BY MR. THOMAS: 8 him that you wanted to publish a book on ethics, what
9 Q. What does it mean to be independent for a 9 happened?
10 firm like BDO? 10 A. They -- typically they do a --
11 A. Todo an audit, a CPA must be independent. 11 MR. COLE: Objection, Your Honor.
12 And to be independent you got to be independent, in 12 Speculation and hearsay.
13 fact, meaning you've got to have integrity, you have to 13 THE COURT: He says what happened. The
14 have objectivity, and you have to appear to be 14 — answer is, what happened.
15 independent from a third-party perspective. 15 Overruled.
16 And if you're not independent, which is one 16 THE WITNESS: The publisher -- basically
17 _ of the bedrock generally-accepted auditing standards -- 17 — when you have a book they circulate --
18 [alluded to 10 generally-accepted auditing standards. 18 THE COURT: Doctor, what happened? The
19 They're kind of the foundation for all the SASes that 19 question is, what happened.
20 are attached to those standards. One of those is 20 Read the question back.
21 independence. It's a bedrock standard. If you're not 21 THE WITNESS: What happened.
| 22 independent, you can't do an audit. 22 (Thereupon, the court reporter read back the
23 Q. And I believe you mentioned earlier that 23 requested portion.)
24 you'd also authored books? 24 THE WITNESS: They basically rejected it and
25 A. That's correct. 25 _ said that no one really had an interest in ethics. It
Page 2484 Page 2486
1 Q. And was one of these books the 1 would not be marketable.
2 ‘Practitioner's Guide to GAAS? 2 THE COURT: Note your objection.
3 A. Yes. Generally-accepted auditing standards, 3 BY MR. THOMAS:
4 yes. 4 Q. Did you eventually get him to publish your
5 Q. And -- 5 book on ethics?
6 MR. THOMAS: May I approach, Your Honor? 6 A. J eventually got a publisher to publish my
7 THE COURT: You may. 7 book on ethics, that's right.
8 MR. THOMAS: (Complies.) 8 MR. THOMAS: May I approach, Your Honor?
9 BY MR. THOMAS: 9 THE COURT: You may.
10 Q. And you had a co-author here, 10 MR. THOMAS: (Complies.)
11 _B.R. Carmichael? 11 BY MR. THOMAS:
12 A. Doug Carmichael, that's correct. 12 Q. And Dr. Guy, did you also publish the
13 Q. And who is Doug Carmichael? 13 Practitioner's Guide to Audit Sampling?
14 A. Doug Carmichael was the chief auditor of the 14 A. I'm the author of that book. The publisher
15 United States at the accounting oversight board. 15 published it and I wrote it.
16 MR. COLE: Objection. Bolstering. 16 Q. You wrote it. Okay. And the International
17 THE COURT: Overruled. 17 Standards on Auditing and Related Services, is this one
18 BY MR. THOMAS: 18 you wrote too?
19 Q. And did you write a textbook on auditing? 19 A. That's correct.
20 A. That is one of my textbooks on auditing, 20 MR. THOMAS: May | approach, Your Honor?
21 __ yes, that's correct. 21 THE COURT: You may.
22 Q. And did you write a book on ethics for CPAs? §22 MR. THOMAS: (Complies.)
23 A. Yes, I did. 23 BY MR. THOMAS:
24 Q. And when did you write the first edition of 24 Q. And finally, Dr. Guy, if you look at the
25 this book? 25 last demonstrative up there, we've already talked about

 

 

 
  

    
     
   
  
   
  
    
  
  
     
    
  
    
   
  
   
   

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DR: LOL SEP SALE AE LEE EB TAN EEN AAS Ye LEO EERE BDI it SEGA TES ASA LOEAS ROU SEES COREE 2G BEY ETE RTM GSE ENGL EG LEE STIG LE ROSE KEL RAO a HSS LE RIS SAT RT RES TRS SAREE SNOPES ERIS LORE Ls STRESS STA
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12 (Pages 2487 to 2490)

 

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the John J. McCloy award. Did you also receive the
American Academy Association Section Award for
significant lifetime contributions to auditing?

A. Yes, I did, in 2001.

Q. Dr. Guy, have you reached an opinion in this
case?

A. Yes, Ihave.

Q. What is your opinion?

A. My opinion is that BDO was not independent
for any of the five audits from 1999 -- 1998, 1999,

2000, 2001, and 2002. For any of those audits they were
not independent and had no foundation to issue an audit
opinion on the Bankest financial statements.

Q. And what is your opinion in regards to BDO
Seidman's adherence as certified public accountants to
the public trust?

A. To -- BDO basically grossly violated --

MR. COLE: Objection, Your Honor. Move to
strike and I reserve.

THE COURT: Overruled.

THE WITNESS: BDO grossly violated the
public trust in terms of their due care duties and
responsibilities as auditors and issued opinions on
financial statements for which they had no foundation to
issue the opinion.

   
   
   
   
   
   
   
    
  
  
 

Page 2489 :
1 rules are published by the American Institute of CPAs.
2 Q. And is one of those rules an auditing
3 standard part of GAAS and SAS?
4 A. That's right. One of the rules is SAS-1, we
5 call it AU 220. AU standards for auditing. So when you
6 see AU abbreviations, that comes out of the blue and
7 gold book. And it's AU Section 220.
8 MR. THOMAS: With Your Honor's permission, I
9 will approach the witness with Plaintiffs’ Exhibit 131
10 evidence in.
11 THE COURT: You may.
12 MR. THOMAS: (Complies.)
13. BY MR. THOMAS:
14 Q. Dr. Guy, is this AU Section 220?
15 A. Yes, it is.
16 Q. And this is one of the -- is this one of the
17 rules that governs BDO's independence in this case?
18 A. Yes, it is.
19 MR. THOMAS: If we could, please, now look
20 at the title of the rule in .01.
21 (Technician complies.)
22 BY MR. THOMAS:
23 Q. And the title is Independence. And then .01

24 _ states it's -- the second general standard is, in all
25 matters relating to the assignment, an independence in

 

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Page 2488

BY MR. THOMAS:

Q. When you say that BDO Seidman lacked
independence, why is it important for an auditor
auditing the financial statements of E.S. Bankest to be
independent?

A. Well, the Bankest financial statements are
the clients. Bankest is a client, the Bankest financial
statements. And the auditor intervenes in terms of
financial statements are prepared on Bankest. They go
to various users, board of directors, shareholders,
noteholders, banks and others.

And in order for the user to believe in the
financial statements, for the financial statements to
have credibility, a firm, an auditor like BDO intervenes
to add assurances, to audit the financial statements,
otherwise they would not be believable and, therefore,
they attach an opinion.

The financial statements are the company's,
and the auditor is responsible for the opinion that is
attached to the financial statements to add credibility,
to add believability.

Q. Dr. Guy, are there rules that apply to BDO's
lack of independence in this case?

A. Yes, there are. Principles and rules that
apply to BDO’s lack of independence published by the

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Page 2490 §

1 mental attitude is to be maintained by the auditor or

2 auditors.

3 Dr. Guy, first, what are the general

4 standards?

5 A. I referred earlier to 10 auditing standards.

6 And Ireferred to the statements on auditing standards

7 that are built on those. And that's all part of GAAS.

8 And the 10 auditing standards are divided into three

9 different groups. One of those groups is called the
10 = general standards. And the second general standard here
11 of generally-accepted auditing standards is on
12 independence, the one that you see basically in front of
13 you.
14 Q. Dr. Guy, the independence is part of this
15 top 10 of standards; is that right? :
16 A. It's one of the 10 generally-accepted ;
17 auditing standards, that's correct. :
18 MR. THOMAS: And if we could look at .03. :
19 (Technician complies.) :
20 BY MR. THOMAS: ;
21 Q. .03 says, it is of utmost importance to the }

22 profession that the general public maintain confidence
23 in the independence of independent auditors.
Why is that important, Dr. Guy?

    
  

 

 

A. Well, if you were not independent, financial

  
 
 

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13 (Pages 2491 to 2494)

 

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statements would not be believable. For example, you
would not know where to vest your retirement funds
because you couldn't trust financial statements. Banks
would not know how to -- whether to make a decision
involving loaning money to a company. Investors
wouldn't know if they should invest in the company as
stockholders or noteholders or anything else.

If we didn't have the independence of the
audit function and we didn't have believable financial
statements, our market could come tumbling down,
crashing down.

Q. Ifyou look at the next sentence, it says,
public confidence would be impaired by evidence that
independence was actually lacking and it might also be
impaired by the existence of circumstances which
reasonable people might believe likely to influence
independence.

What do you understand that to mean?

A. It means there are two facets of
independence, what we call independence in fact, and
independence in appearance.

And to be independent -- independence and
appearance means that a party who's not the client and
not the auditor has to -- a party knowing all the facts
and circumstances that had total awareness, what that

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Page 2493 Bf

What do you understand this to mean?

A. It means basically that one of the facets of
being independent is making sure that you comply with
the precepts and the rules as well as the fact that you
have to appear to be independent in addition to just the
rules.

Q. And, in fact, the last sentence says,
insofar as these precepts have been incorporated in the
profession's code, they have the force of professional
law for the independent auditor.

Does that mean they have to follow the
rules?

A. That's correct.

MR. THOMAS: If we look at .06.
(Technician complies.)
BY MR. THOMAS:

Q. .06 provides that the independent auditor
should administer his practice within the spirit of
these precepts and rules if he is to achieve a proper
degree of independence in the conduct of his work.

What does this mean, Dr. Guy?

A. It means that if you look at independence
and the principles of independence and the AICPA Code of
Conduct, for example, in a way to follow a high level --
it’s not the kind of thing that you look to see, well,

 

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party believed, the auditors independence, and what that
party believed that he or she could rely on the
financial statements.

Q. And is that what you see in the next few
sentences here, Dr. Guy, is that this idea that not only
must an auditor be independent in fact, but must also
appear to the public to be independent?

A. Absolutely.

Q. And if we please look at everything in the
paragraph. But if we look down to the bottom it says,
independent auditors should not only be independent in
fact, they should avoid situations that may lead
outsiders to doubt their independence.

Do you agree with that statement?

A. Yes, Ido.

Q. It says, the profession has established
through the AICPA's Code of Professional Conduct
precepts to guard against the presumption of loss of
independence. Presumption is stressed because the
possession of intrinsic independence is a matter of
personal quality rather than of rules that formulate
certain objective tests.

And please feel free to read the last
sentence. J just didn't want to keep reading to the
jury.

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how can I get around it.
If you look at a rule, for example, and the

rule will have examples in it, you don't say, well, if
this example isn't listed here, then it's okay for me to
do it. That's not the way you make independence
decisions. You can't maintain independence and look at
it as a way to short circuit or get around what's in the
code of professional conduct.

Q. Well, this .06 Rule 220 says that the
independent auditor should administer his practice
within the spirit of these rules.

Does this mean that an auditor like BDO

can't only adhere to the letter of the rule but must
also adhere to the spirit of the rule?

A. The form is the rule itself or the
principle, and the spirit basically -- it's kind of what
I said again, you don't look at it in a way to how can I
get around it. How can I avoid it. And you don't --
you should never go through -- no CPA, no auditor should
go through a code of professional ethics and say, well,
again, if it's not here, I don't have to follow it.
Those are examples.

Q. So BDO has to follow the rules and the
spirit of the rules. Did I get that right?
A. The code of conduct and the principles.
 

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14 (Pages 2495 to 2498)

 

 

 

 

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Page 2495 Page 2497
1 That's the way you make independence decisions that are i MR. COLE: Objection.
2 fair and uphold the public interest. 2 THE COURT: Sustained.
3 MR. THOMAS: Now can we go to .02? 3. BY MR. THOMAS:
4 (Technician complies.) 4 Q. Well, what do you understand judicial
5 BY MR. THOMAS: 5 impartiality to mean as applied to BDO in this case?
6 Q. .02 starts out with, this standard requires 6 A. Meaning that in their audit they had to
7 that the auditor be independent. Aside from being in 7 be -- have integrity, they have to be objective, they
8 public practice, as distinct from being in private 8 have to be free of conflicts of interest, they can't
9 practice, he must be without bias with respect to the 9 subordinate their judgment to clients or anyone else.
10 client since otherwise he would lack that impartiality 10 You've got to be like a Judge. You've got
11. necessary for the dependability of his findings however 11 to be impartial. You can't have any, quote, skin in the
12 excellent his technical proficiency may be. 12 game versus one party having advantage over another
13 Dr. Guy, first of all, in this case when BDO 13 party.
14 was auditing Bankest, were they in public practice? 14 Q. In doing their audits, could BDO lean toward
15 A. Yes, BDO is in public practice meaning that 15 one party or the other?
16 they are a CPA firm and they hold themselves out to do 16 A. No. They have to be like, I guess, the
17 audits of financial statements as opposed to private 17 _ scales of justice. They have to be impartial.
18 practice where I might be a controller or chief 18 Q. Dr. Guy, you mentioned objectivity,
19 financial officer in a private company or a company that 19 integrity, and impartiality. .
20 trades on the stock exchange. That's private practice. 20 Can you take those principles and this rule
21 Q. And Dr. Guy, in this rule BDO -- in this 21 and apply it to this case?
22 case did they have to be without bias? 22 A. Absolutely, yes.
23 A. Yes, they have to be without bias. 23 Q. Would it help you to write it out for the
24 Q. And then at the end of this statement it 24 jury?
25 talks about, however excellent his technical proficiency 25 A. Yes. To explain what independence is, yes,
“Page 2496 Page 2498
1 may be. 1 THE WITNESS: May I step down?
2 Why doesn't excellent technical proficiency 2 THE COURT: You may.
3 make up for a lack of independence? 3 THE WITNESS: (Complies.) Thank you.
4 A. Because you could be a super duper in terms 4 THE COURT: You can move if you wish.
5 _ of technical -- knowing what GAAP is, generally-accepted 5 MR. COLE: Yes. (Complies.)
6 accounting principles -- but the code of conduct says 6 THE WITNESS: Basically I'll use this
7 you've got to be independent in fact and independent in 7 illustration here to explain why independence -- what is
8 appearance, otherwise your opinion is no good on the 8 independence about and why it's important.
‘9 financial statements. It's worthless. It's not worth 9 And I apologize to you up-front about my
10 of the paper it's written on. 10 = handwriting.
11 Q. And the next sentence reads, however, 11 Okay. As we talked about already a little
12 independence does not imply the attitude of a prosecutor 12 __ bit, Bankest is a client here. Bankest is audited by
13 but rather a judicial impartiality that recognizes an 13 BDO. And Bankest produces financial statements or
14 obligation for fairness not only to management and 14 prepares financial statements. Now, those financial
15 owners of a business but also to creditors and those who 15 statements would be biased and would not be believable,
16 may otherwise rely, in part, at least, upon the 16 would not be credible. But we have an event that takes
17 independent auditor's report as in the case of 17 place, we have an intervention, we have an auditor here.
18 prospective owners or creditors. 18 And the auditor in this case, of course, is BDO.
19 Dr. Guy, in this case was BDO required to 19 And the purpose of the auditor -- and the
20 have judicial impartiality? 20 auditor must be independent, and the auditor intervenes
21 A. Yes, they have to be independent, and that's 21 in this information flow to add credibility,
22 what it means. 22 _ believability, to make sure that the financial
23 Q. Soin this case, BDO couldn't have an 23 statements that he's paid for technically are fairly
24 interest in the outcome just like a Judge, His Honor, 24 presented in accordance with generally-accepted
25 couldn't have an interest in the outcome of this case? 25 accounting principles.

 
 

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15 (Pages 2499 to 2502)

 

 

 

Page 2499 Page 2501 8
1 Now, these financial statements, after this 1 BY MR. THOMAS:
2 _ shield or filter they go through, then the financial 2 Q. Dr. Guy, you mentioned three things that BDO
3 statements are audited. They are blessed, so to speak, 3 had to have, integrity, objectivity, and appearance --
4 Good Housekeeping Seal of Approval or whatever, and they 4° A. Appearance, that's correct.
5 go through various parties, such as board of directors. 5 Q._ -- of independence.
6 Board of directors such as banks or bank that's making 6 Dr. Guy, are those three things sort of like
7 a- 7 the legs of a stool?-
8 MR. COLE: Objection, Your Honor. 8 A. I basically have used the stool analogy a
9 THE COURT: Overruled. 9 Jot, and there are like three legs of a stool, integrity
10 THE WITNESS: -- such as a bank that's 10 objectivity, and appearance of independence. And if you
11 looking to do and make a Joan to this company, Bankest 11 don't have any one of them, you're not independent.
12. ornot, what should the interest rate be, things of that 12 MR. THOMAS: May I approach, Your Honor?
13 _ sort. 13 THE COURT: You may.
14 They go to noteholders. Noteholders are 14 MR. THOMAS: Your Honor, BDO objects
15 investors in the company who buy notes or bonds or which 15 (inaud.).
16 isadebt instrument. And we -- 16 THE COURT: Let me see it.
17 MR. COLE: Objection, again, Your Honor. 17 THE WITNESS: (Complies.)
18 THE COURT: Overruled. 18 THE COURT: Side bar for a second.
19 THE WITNESS: And they also go to 19 (Thereupon, there was a side-bar conference
20 shareholders. Now, these users -- if this auditor were 20 outside the presence and hearing of the jury.)
21 not independent, this audit is worthless. And these 21 THE COURT: I believe I sustained the
22 users have to believe -- if they were aware of all the 22 objection last time, if I'm not mistaken.
23 facts and circumstances, the auditor has to be appear to 23 MR. THOMAS: If I'm not mistaken.
24 be independent. 24 THE COURT: But it's the same one.
25 So BDO and an auditor has to be independent 25 MR. THOMAS: Last time you sustained the
Page 2500 Page 2502 i
1 in fact, and independent in fact means that they have to 1 objection because it had the stool crashing down. And
2 _ have integrity, meaning they have to be honest, candid, 2 so] didn't use the one with the stool crashing down
3 and they have to be objective without bias. They have 3 this time. And you said I could use the stool and, in
4 to be impartial. They have to be fair. And they also 4 fact, all the demonstratives I used the last time had
5 have to be independent in appearance. 5 _ the stool in the upper right-hand corner.
6 So these are the two facets, independent in 6 MR. COLE: But the stool itself and the
7 ~~ fact, having integrity, you're, again, to be honest, to 7 crashing down -- I know the crashing down was definitely
8 be candid, to be objective, impartial, not subordinate 8 sustained.
9 your judgment or cave in somewhat to the client or 9 MR. THOMAS: It was on the same
10 anyone else here in this relationship, not have 10 demonstrative.
11 conflicts of interest and so on. And you have to appear Li MR. COLE: The other demonstratives had the
12 to be independent. 12 _ stool on the corner, and I didn't object to that because
13 If these parties were aware of all the facts 13 it could take forever to remove that. It was like a
14 and circumstances, they have to believe and should 14 shadow behind. But the fact is that what was allowed
15 _ believe that the auditor is independent. Otherwise we 15 last time was the fact of what is integrity, what is 1
16 would not have credible financial statements that you 16 objectivity.
17 could rely on to make decisions. 17 THE COURT: I believe it was separate but :
18 And in a nutshell that's why independence is 18 you couldn't take them out. }
19 critical, and that’s what I mean when I said that of the 19 MR. THOMAS: I couldn't take the crashing E
20 10 generally-accepted auditing standards, this is a 20 down, and the objection was to the demonstrative. So :
21 foundation or bedrock standard. Without it youcan'tdo §21 _ this time I did it with without the crashing. He just i
22 an audit. 22 _ said it's like the three legs of the stool. i
23 MR. THOMAS: Thank you, Dr. Guy. 23 He lectures on the three legs of the stool A
24 (Witness takes his seat at the witness 24 all over the country. It's a demonstrative to aid the ;
25 Uy, and all it does is take the three projects and put d

   

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16 (Pages 2503 to 2506)

 

   
 
 
  
  
  
  
  
  
  
  
  
  
   
  
  
  
  
 

 

Page 2503 Page 2505
1 them on the legs of the stool, and I'm not showing the 1 Independence in fact, A and B, integrity is part of an
2 crashing down this time. 2 important part of independence in fact.
3 MR. COLE: The stool is argumentative. He 3 Q. And what about objectivity? It says, don't
4 can talk about integrity, he can talk about objectivity, 4 let client or other relationships affect your judgment.
5  hecan talk about independence, and that's what was done 5 How does that apply to BDO doing the audits of E.S.
6 last time. 6  Bankest?
7 MR. THOMAS: It's illustrative and helpful 7 A. You've got to be fair, you've got to be
8 to the jury, which is exactly what demonstratives are 8 impartial, you can't have a bias towards one of the
9 for, particularly with an expert, and I'm not showing 9 clients or some other party. You cannot have a conflict
10 ‘the crash. 10 of interest. You cannot subordinate your judgment, .
11 THE COURT: J understand. I'm going to 11 meaning you can't give in to the client or other parties
12 = allowit. It's overruled. 12 in terms of if they weren't -- you can't subordinate
13 MR. COLE: I don't want the crashing, right. 13 your judgment, and this is the second leg of the stool.
14 THE COURT: No crashing. 14 And leg one and two are what I referred to as
15 (Thereupon, the side-bar conference was 15 independence in fact.
16 concluded.) 16 Q. And the final one, appearance of
17 BY MR. THOMAS: 17 independence means, according to this, doesn't do
18 Q. Dr. Guy, with that demonstrative would be 18 anything that even looks like your judgment has been
19 helpful in you explaining these three legs of the stool 19 influenced by others.
20 forthe jury? — 20 Is that what we mean by what it looks like
21 A. Yes, it would. 21 from the outside?
22 (Technician complies.) 22 A. From a third-party perspective, someone
23 BY MR. THOMAS: 23 aware of all the facts and circumstances. If it were up
24 Q. Dr. Guy, does independence require all 24 on the marquis out front on the interstate and you
25 three, integrity, objectivity, and appearance of 25 described all the facts and circumstances, what would
Page 2504 Page 2506
1 independence? 1 those people think about your independence. Would they
2 A. Yes, it does. If any leg is broken, you're 2 include that they were independent if they were aware of
3 not independent. 3 all the relationships and all the things that were going
4 Q. So in this case, if BDO had integrity and 4 on, for example, in the client/auditor relationship,
5 objectivity, but did not have appearance of 5 appearance of independence.
6 independence, would they be independent? 6 Q. Now, integrity, objectivity, and appearance
7 A. No. 7 of independence, are they found in the rules too?
8 Q. What if they had appearance of independence 8 A. Yes, they are.
9 and integrity but not objectivity? 9 MR. THOMAS: Your Honor, with your
10 A. They would not be independent. You have to 10 permission I will -- this is not marked for ID.
11 have all three. It's like a stool. You can't sit on a 11 I'm sorry, Your Honor. Can I please
12 two-legged stool. At least I can't. 12 approach your clerk?
13 MR. THOMAS: Without objection, may I 13 THE COURT: You may.
14 approach the witness? 14 MR. THOMAS: (Complies.)
15 THE COURT: You may. 15 MR. COLE: No objection.
16 MR. THOMAS: (Complies.) 16 MR. THOMAS: With Your Honor's permission,
17 BY MR. THOMAS: 17 Jl approach the witness with Plaintiffs’ Exhibit 7344
18 Q. And the three requirements of independence, 18 for ID.
19 Dr. Guy, the first one being integrity, it says, be 19 THE COURT: You may.
20 honest and candid. 20 MR. THOMAS: And plaintiffs move 7344 for ID
21 What does that mean to an auditor like BDO 21 into evidence, I understand, without objection.
22 ~~ doing the E.S. Bankest audits? 22 MR. COLE: No objection.
23 A. Well, it's the first leg of the stool here 23 THE COURT: What was the number, again?
24 that you've got to have integrity. This is -- I listed 24 MR. THOMAS: (Inaud.).
25 on the flip chart two facets of independence. 25 THE COURT: All right. Without objection,

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17 (Pages 2507 to 2510)

 

  
   
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  

 

 

  
   
 
  
   
  
  
  
  
  
  
  
   
  
  
 

Page 2507 Page 2509 &
1 Defendants’ -- Plaintiffs’ Exhibit 7344 marked for ID is 1 A. That's correct.
2 now Plaintiffs’ 7344 in evidence. 2 Q. And it says, in the performance of any
3. BY MR. THOMAS: 3. professional service, a member shall maintain
4 Q. Dr. Guy, what is Plaintiffs’ Exhibit 7344 in 4 objectivity and integrity, shall be free of conflicts of
5 evidence which he just provided you? 5 interest, and shall not knowingly misrepresent facts or
6 A. It looks to be a cutout of the AICPA's Code 6 subordinate his judgment or her judgment to others.
7 of Professional Conduct dated February 19, 2007. So 7 What does it mean to subordinate -- for an
8 it's the code of conduct, contains all the principles 8 auditor like BDO to subordinate their judgment?
9 and rules and of the AICPA requirements to be 9 A. Subordinate judgment means that -- I guess
10 independent and other ethical requirements. 10 kind of down home North Carolina way means to cave in.
11 Q. And Dr. Guy, is ET-101 in here? 11 ‘If you caved in to your client, you would have
12 A. ET stands for ethics and you're referring to 12 subordinated your judgment. If you were -- permitted
13 Rule 101 on independence, and it is in here. 13  arm-twisting to take place and permitted the client to
14 MR. THOMAS: And can we highlight the top 14 dictate what you would do and not do to subordinate your
15 there where it says independence? 15 judgment. Or you could subordinate your judgment to
16 (Technician complies.) 16 some other party.
17. BY MR. THOMAS: 17 So the concept here is, you will not cave
18 Q. And this says ET Section 101, Independence. 18 im, you have to maintain objectivity. You will not
19 Now, before, we looked at Auditing Standard 220. Was 19 subordinate your judgment to anyone to maintain
20 ‘that a GAAS, SAS rule? 20 objectivity. You can't be an auditor if you subordinate
21 A. AU standards for auditing. And 220 means 21 your judgment to anyone.
22 _ it's generally-accepted auditing standards apart -- it's 22 Q. And Dr. Guy, is there a description in the
23 aSAS,anS-A-S. 23 rules of integrity?
24 Q. And is the SAS part of GAAS? 24 A. There is, yes, in the ET section. All this
25 A. Yes, it is. 25 is ET, but back up in the ET-53, 54, 55 section, there's
Page 2508 Page 2510 &
1 Q. So when I -- so yes, it is part of GAAS and 1 a discussion of integrity.
2 SAS? 2 MR. THOMAS: Can we please go to ET-54,
3 A. That's correct. 3 please.
4 Q. And now we're looking at the actual ET, 4 (Technician complies.)
5 _ ethics section, and this is Rule 101 on independence? 5 BY MR. THOMAS:
6 A. That's correct. 6 Q. And again, this is another ethics rule?
7 Q. And it provides that a member in public 7 A. This is one of the principles in the AICPA
8 practice shall be independent in the performance of 8 Code of Conduct, yes.
9 professional services as required by standards 9 MR. THOMAS: And if we look at the top
10 promulgated by bodies designated by council. 10 there, in .O1 there.
11 Same idea? 11 (Technician complies.)
12 A. Same idea, yes. 12 MR. THOMAS: There we go. Thank you.
13 MR. THOMAS: And if you would look with me, §.13 BY MR.THOMAS:
14 please, at 102. 14 Q. It says, for integrity to maintain and
15 (Technician complies.) 15 broaden public confidence, members should perform all
16 BY MR. THOMAS: 16 __ professional responsibilities with the highest sense of :
17 Q. And you see that there, you can see it on 17 integrity. F
18 the screen. I know you got a big book there. 18 And then .01 says, integrity is an element ;
19 A. Isee 102 on the screen, yes. 19 of character fundamental to professional recognition. :
20 Q. And 102 talks about integrity and 20 It is the quality from which the public trust derives E
21 objectivity, which we were just discussing with the 21 and the benchmark against which a member must ultimately If
22 demonstrative? 22 test all decisions. ;
23 A. That's correct, yes. 23 This is the first leg of the stool? 5
24 Q. And this is the rule that talks about that, 24 A. _ Integrity is the first leg of the :
25 right? 25 three-legged stool, yes. 4

     

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18 (Pages 2511 to 2514)

 

Page 2511

    
   
  
  
   
   
   
  
   
  
  
  
  
    
   

Page 2513 §

 

1 Q. And does integrity apply to the audits BDO 1 Q. .03 provides, for a member in public
2 Seidman did in this case? Must they have had integrity 2 ‘practice, the maintenance of objectivity and
3 in doing them? 3 independence requires a continuing assessment of client
4 A. Absolutely. 4 relationships and public responsibility.
5 Q. And if we look at .03, it provides, 5 In this case, Dr. Guy, was BDO required to
6 integrity is measured in terms of what is right and 6 have a continued assessment of their audit client
7 just. In the absence of specific rules, standards, or 7 relationship with Bankest when they entered into their
8 guidance, or in the face of conflicting opinions, a 8 business relationship with StrataSys?
9 member should test his decisions and deeds by asking, am 9 A. Yes, they were. And you must understand
10 I doing what a person of integrity would do? Have I 10 the -- that relationship, that affiliation with
11 retained my integrity? Integrity requires a member to 11  StrataSys and the impact that has on your audit client
12 observe both the form and the spirit of technical and 12  ~Bankest.
13 ethical standards. Circumvention of those standards 13 Q. And if we look back up at the top of this
14 constitutes subordination of judgment. 14 rule again, please, I believe we see the third leg of
15 Dr. Guy, is this the same idea we saw in 15 the stool in the second sentence. A member in public
16 Rule 220, that you must follow the letter and the spirit 16 __ practice should be independent in fact and appearance
17 of the rules? 17 when providing auditing and other attestation services.
18 . A. You must follow the form and the spirit of 18 Is this the idea of the third leg of the
19 the rules, and this is what this says. Technical 19 stool also found in Rule 55?
20 standards here refer to, for example, the 20 A. That's correct.
21 generally-accepted auditing standards, and ethical 21 Q. And if we look at the bottom of .01 the rule
22 standards refer to the basic document that I said was 22 provides, independence precludes relationships that may
23 printed from the AICPA Web site, yes. 23 appear to impair a member's objectivity in rendering
24 MR. THOMAS: And can we look at the next 24 attestation services.
25 one, 55? 25 You can't even look like you're not
Page 2512 Page 2514]
1 (Technician complies.) 1 independent; is that right?
2 BY MR. THOMAS: 2 A. That's correct, and remember, attestation
3 Q. And Ethical Rule 55 -- 3 here means audit, as well. Attestation is an umbrella
4 MR. THOMAS: Thank you. 4 concept. So one of the facets of service lines under
5 BY MR. THOMAS: 5 attestation is audit, as well. Audit and financial
6 Q.  -- says, a member should maintain 6 statements.
7 ~~ objectivity and be free of conflicts of interest in 7 MR. THOMAS: With Your Honor's permission, I
8 discharging professional responsibilities. 8 will approach the witness with Plaintiffs’ Exhibit
9 What does it mean to be free of conflicts of 9 Number 87 in evidence.
10 interest? 10 THE COURT: You may.
11 A. Means the CPA can't have a relationship with 11 MR. THOMAS: (Complies.)
12 others. For example, when you're doing an audit,asan §12 BY MR. THOMAS:
13 auditor you can't have a relationship with someone else $13 Q. Dr. Guy, do you understand Plaintiffs’
14 _ that would taint your audit, that would cause youtonot §14 Exhibit 87 in evidence to be E.S. Bankest's financial
15 be impartial, a conflict of interest, a relationship. 15 statements for 2001, 2002 audited by BDO Seidman?
16 Someone -- when you're doing an audit, for 16 A. Yes, Ido.
17 example, and you have a relationship with someone else § 17 Q. Could you look at page 2 with me, please.
18 that would cause you to -- your audit to be tainted, for 18 A. (Complies.)
19 you to pull your punches in the way you generate audit 19 Q. Is BDO in their heading there required to
20 evidence, and for you to otherwise not do the job that 20 put it's an independent auditors report?
21 you must do in living up to the public trust that's 21 A. You have to be independent to be an auditor
22 bestowed upon certified public accountants. 22 and the authoritative standards mandate that you title
23 MR. THOMAS: Can we look quickly at .03? 23 your report as independent auditor.
24 (Technician complies.) 24 Q. And BDO Seidman signed this report?
25 BY MR. THOMAS: 25 A. Yes, they did.

   

 

 

 
   
  
   
  
   
  
   
  
   
   
   
   
   
   
   
   
  

  
   

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19 (Pages 2515 to 2518)

 

Page 2515

  
  
  
   
   
  
   
  
  
   
   
   
   
   
   
   
   

Page 2517 E

 

1 Q. And if you would look with me, please, at 1 THE COURT: Okay.
2 _ the paragraph that states we conducted. 2 MR. THOMAS: (Complies.)
3 Do you see that? 3 May I approach, Your Honor?
4 A. Thesecond paragraph? Yes, I do. 4 THE COURT: You may.
5 Q. We conducted our audits in accordance with 5 MR. THOMAS: (Complies.)
6 auditing standards generally accepted in the United 6 BY MR. THOMAS: .
7 States of America. 7 Q. Dr. Guy, Plaintiffs’ Exhibit 7345 marked for
8 Dr. Guy, is that statement by BDO Seidman 8 ID, is that the book you wrote on ethics?
9 true? 9 A. Yes, it is.
10 A. No, itis not true. One of the auditing 10 MR. THOMAS: Plaintiffs move 7345 marked for
11 standards absolutely mandates that you have to be 11 JD into evidence, Your Honor.
12  imdependent. They're not independent. 12 MR. COLE: Objection. Irrelevant and
13 Q. Dr. Guy, as part of reaching your opinion in 13 bolstering.
14 this case, did you have a chance to review BDO Seidman's § 14 THE COURT: Overruled.
15 work papers? 15 Tll accept Plaintiffs' Exhibit 7345 marked
16 A. Yes, I did. For the five audits we alluded 16 for ID is now Plaintiffs’ Exhibit 7345 in evidence.
17 to, [reviewed the work papers, yes. 17 BY MR. THOMAS:
18 Q. Dr. Guy, in these audits, did BDO Seidman's 18 Q. Dr. Guy, I'd ask you to turn to page 36 of
19 work papers constitute evidence? 19 your ethics book. .
20 A. They document evidence that's needed to 20 A. Yes, I have page 36.
21. support an opinion on the Bankest financial statements. 21 Q. And if you look at the bottom there where it
22 Q. And -- but in this case are they reliable 22 says, consequences of not being independent.
23 evidence that BDO complied with generally-accepted 23 MR. COLE: Objection. This falls squarely
24 auditing standards? 24 within (inaud.), bolstering.
25 MR. COLE: Objection. Outside the scope. 25 THE COURT: Overruled.
Page 2516 Page 2518
1 THE COURT: Overruled. 1 BY MR. THOMAS:
2 MR. COLE: And it's impairing the jury's 2 Q. Dr. Guy, what is the consequence of BDO not
3 function as to what is reliance. 3 being independent in this case?
4 THE COURT: Overruled. 4 A. As stated here, if you're not independent,
5 THE WITNESS: BDO in this case did not have 5 you haven't complied with the generally-accepted
6 as aresult, for example, of subordination of their 6 auditing standards, and the auditor is precluded, the
7 judgment from the get-go, from the 1998 audit 7 auditor is prohibited from expressing an opinion of
8  subordinating their judgment to Mr. Parlapiano, they 8 financial statements.
9 basically had inadequate evidence, for example, the use 9 And it also goes on to say in the second
10 of what's referred to as invoice-only is totally 10 paragraph here that no matter how extensive your audit
11 inappropriate for an auditor to use -- 11 procedures are, if you're not independent, your audit is
12 MR. COLE: Objection. Outside the scope. 12 no good, you haven't done an audit and you can't issue
13 THE WITNESS: -- and that demonstrates the 13 an audit opinion. And for -- it says, for all practical
14 — subordinate -- 14 purposes the financial statements are unaudited.
15 THE COURT: What is your objection? 15 Q. So let me revisit the question I asked you a
16 MR. COLE: Outside the scope. 16 moment ago, Dr. Guy. If BDO was not independent when
17 MR. THOMAS: Actually -- well, Your Honor,I {17 _ they did these audits, are the work papers for their
18 think I can demonstrate -- 18 audits reliable evidence that they complied with
19 THE COURT: Then ask another question. 19  generally-accepted accounting standards?
20 Maybe you'll get another answer. 20 A. Generally-accepted auditing standards? No.
21 MR. THOMAS: Actually I can just show it 21 Because no matter how much work they did, if you're not
22 ~=fromhere. 22 independent full stock, you can't even refer to
23 THE COURT: Okay. 23 something as audit procedure because it's not an audit
24 MR. THOMAS: If you'll just give me a chance 24 procedure.
25 Q. Several times, Dr. Guy, you've explained or

  

to approach your clerk.

 

 

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20 (Pages 2519 to 2522)

 

 

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Page 2519 Page 2521 ff

1 noted subordination of judgment. 2 when he was denied documents?

2 Did you see in this case, in your opinion, 2 MR. COLE: Objection. Based upon the last

3 that BDO Seidman subordinated its judgment and, 3 question and this question is leading.

4 therefore, violated one of the three legs of the stool? 4 THE COURT: Overruled.

5 A. Yes, I did. 5 THE WITNESS: I understand that Mr. Rivera

6 Q. Where did you see that evidence? 6 — was denied access, needed access to Capital’s books and

7 A. Well, it -- from the get-go basically and 7 records and had a conversation with Mr. Ellenburg on

8 throughout the entirety of the five years of audits they 8 that Friday we're talking about in February of 1999, and

9 subordinated their judgment. 9 stopped work.
10 For example, if we go back to the refusal to 10 BY MR. THOMAS:
11. grant access to, the need access, unfettered access, 11 Q. And do you have an understanding about
12 _ unrestricted access, to Capital's books and records when §12 whether or not there was another conversation with
13 Ramon Rivera was denied that access, and then basically $13 Mr. Parlapiano, this time involving Mr. Lenner?
14 when they had the meeting with Mr. Parlapiano, he 14 A. lTunderstand that there was a conversation
15 indicated that -- 15 the following week, and that it was a telephone
16 Q. I'm going to stop you for just a minute, 16 _ conversation, for example, that took place -- Mr. Lenner
17 Dr. Guy, and let's try to take it in steps. Okay? 17 was part of that conversation that took place.
18 A. Okay. . 18 Q. And do you understand whether or not now for
19 Q. You've had a chance to review the 19 — asecond time Mr. Parlapiano denied access to documents
20 depositions and some of the testimony in this case? 20 BDO said it needed to complete the audit?
21 A. Yes, I have. 21 MR. COLE: This is leading and
22 Q. And you understand that on a Friday in 22 argumentative.
23 the -- in the 1998 audit, that Ramon Rivera requested 23 Judge, can we have a side bar on this?
24 certain documents -- 24 THE COURT: No. Sustained.

y2s MR. COLE: Objection. 25 BY MR. THOMAS:
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1 THE COURT: Let him finish the question. 1 Q. Do you understand whether it happened for a

2 BY MR. THOMAS: 2 second time?

3 Q._ -- documents from Carlos Mendez and Dominick 3 A. IT understand that the door was shut. You

4  Parlapiano? 4 can't audit Bankest without getting into Capital. And

5 A. Iunderstand -- 5 the door was shut a second time. You can't get behind

6 THE COURT: Hold on. What's your objection? 6 this door and there need -- books and records that an

7 MR. COLE: Leading. 7 auditor has to get to audit Bankest.

8 THE COURT: Sustained. 8 Q. And in forming your opinion in this case and

9 BY MR. THOMAS: 9 understanding the two times you just talked to us about,
10 Q. Dr. Guy, what do you understand happened on 10 did you see whether or not BDO Seidman demonstrated
11 a Friday in the 1998 audit concerning Ramon Rivera? 11 professional skepticism when they responded to these two
12 A. In February of 1999 which is when they're 12 closed doors? :
13 doing the 1998 audit, Ramon Rivera asked for needed 13 A. Did they demonstrate professional ;
14 access to Capital's books and records and was denied 14 skepticism? i
15 that access. 15 Q. Yes, sir. :
16 Q. And Dr. Guy, when -- on that first -- first 16 A. Basically at this stage your only option is ;
17 time on Friday, when Mr. Ellenburg, the partner for BDO §17 to decline to be the auditor because you can't get
18 was notified that they had denied access, did that 18 needed evidence. Here again, 99.5 percent of the
19 constitute a subordination of judgment? 19 receivables were generated by Capital. And you can't :
20 MR. COLE: Objection. 20 possibly audit a shell of a company that has such a ;
21 THE COURT: Sustained. 21 small percentage of the business, Bankest, without :
22 BY MR. THOMAS: 22 getting access. j
23 Q. Do you understand, Dr. Guy, from your review 23 So they basically did not get access. They :
24 of the testimony in this case whether or not Ramon 24 have subordination of judgment. And your decision at :
25 Rivera contacted Keith Ellenburg, the partner for BDO, 25 __ this point should be, unless you've gained unfettered :

 

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21 (Pages 2523 to 2526)

 

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1 access to decline, to continue, or withdraw from the 1 reviewing the declarations and the testimony in this

2 engagement. 2 case, do you have an understanding of what instructions

3 Q. And after this point, Dr. Guy, do you 3 were given to Mr. Rivera by Mr. Lenner that you are

4 understand whether or not there was a meeting between 4 relying upon to give your opinion?

5. Mr. Lenner and Mr. Parlapiano? 5 A. Yes.

6 A. Tunderstand that Mr. Parlapiano came to 6 Q. What?

7  BDO's office and had a meeting a couple days after this 7 MR. COLE: Objection. Hearsay.

8 telephone conversation I think which was on a Monday or 8 THE COURT: Overruled.

9 so. 9 THE WITNESS: Well, the declaration
10 Q. And do you have an understanding after 10 addresses that. For example, at least, in part, in
11 Mr. Lenner's meeting with Mr. Parlapiano whether he gave [11 paragraph 24 it indicates that Mr. Lenner had a
12 instructions to Ramon Rivera? 12 discussion with Mr. Rivera, and basically said restart
13 A. lunderstand that Mr. Lenner after meeting 13 the audit.
14 with Mr. Parlapiano in the BDO offices, instructed Ramon § 14 Mr. Parlapiano’s is a very important person
15 Rivera -- 15 in the Miami business community and we need to be
16 MR. COLE: Objection, Your Honor. 16 looking -- BDO needs to be looking at ways to be
17 THE COURT: Hold on. Sustained. 17 developing new business. And this is an important
18 BY MR. THOMAS: 18 person, and Ramon Rivera needs to develop a better
19 Q. In forming your opinion, are you relying, in 19 understanding of management of client relationships.
20 part, on what you understood happened at BDO's audit in 20 BY MR. THOMAS:
21 1998 involving Ramon Rivera? 21 Q. And Dr. Guy, did you understand that based
22 A. Yes, they were -- - 22 upon Mr. Lenner's conversation with Mr. Rivera, that he
23 Q. Please just answer my question and don't go 23 was to treat Bankest Capital checks and Joy checks as
24 further so we can avoid an objection. 24 Wal-Mart checks?
25 A. Yes. 25 MR. COLE: Objection. Hearsay.

Page 2524 Page 2526 —

1 Q. And in reaching that opinion, did you review 1 THE COURT: Overruled.

2 and rely upon, in part, the declaration of Ramon Rivera? 2 BY MR. THOMAS:

3 A. Yes. 3 Q. Do you have that understanding?

4 Q. And did you rely upon some of the testimony 4 A. I'msorry. Ihave the understanding that he

5 in this case? 5 was told to treat Capital checks as customer checks.

6 A. Yes. 6 Q. And Dr. Guy, in your opinion, do these

7 Q. And did that include deposition testimony? 7 events constitute a subordination of judgment by BDO

8 A. Yes. 8 Seidman?

9 Q. And did that include testimony in this 9 A. Yes, they do. Yes. Absolutely.
10 trial? 10 Q. And if BDO Seidman subordinated their
11 A. Yes. 11 judgment to Mr. Parlapiano, were they independent?
12 Q. And did it include testimony from 12 A. No, you cannot be independent if you lack
13. Mr. Ellenburg? 13 objectivity. And subordination of judgment is meaning
14 A. Yes. 14 that you're minus objectivity.
15 Q. Did it include -- well -- 15 Q. And if BDO subordinated their judgment and
16 MR. THOMAS: May I approach the witness, 16 was not independent, did they violate generally-accepted ‘
17 Your Honor -- 17 auditing standards in all five of the E.S. Bankest E
18 THE COURT: You may. 18 audits? :
19 MR. THOMAS: -- with Exhibit 3753 in 19 A. Yes, they did. A
20 evidence? 20 Q. And in reviewing the work of BDO Seidman, :
21 (Complies.) 21 did you find a pattern of BDO Seidman subordinating :
22 BY MR. THOMAS: 22 their judgment to that of their audit client? :
23 Q. Is this part of what you relied upon? 23 A. Yes, I did. }
24 A. Yes, it is part of what I relied upon. 24 MR. THOMAS: Your Honor, may I approach the 5
25 Q. And based upon your understanding of 25 witness, please, with Exhibit 3005 in evidence? ;

 

 

 

 

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BDO did perfect audits. Perfect audits in 1998, 1999,

 

  

Page 2527 Page 2529
1 THE COURT: You may. 1 2000, 2001, and 2002. They got all of the confirmations
2 MR. THOMAS: (Complies.) 2 back. They saw shipping documents. They recognized
3. BY MR. THOMAS: 3 Capital was a related party. They did everything they
4 Q. Dr. Guy, do you understand this to be a 4 were supposed to do. But BDO was not.independent.
5 portion of BDO Seidman's work paper for the audit for 5 Assuming those facts, did BDO Seidman still
6 the year-end 2000? 6 violate generally-accepted auditing standards in doing
7 A. Yes,I do. For 2000, yes. 7 these audits? ,
8 Q. And do you understand that for the audit for 8 A. Ifyou did a perfect audio, for example, and
9 the year-ended 2000, that Mr. Rivera was no longer 9 yow had a conflict of interest which was obvious in 2001
10 working on the Bankest audit? 10 and 2002, you're not independent. So you're not
11 A. That's correct. 11 independent regarding those two audits.
12 Q. Ifyou could please look with me over at 12 Q. And what about -- I want you to assume for
13 third page? 13 me that they did perfect audits in 1998, 1999, and 2000
14 A. (Complies.) 14 but they had subordinated their judgment and they lacked
15 Q. And at the top where it says customer name 15 the appearance, the appearance of being independent.
16 and invoice and it ends with invoice only, you see that? 16 Did they still violate generally-accepted
17 A. Jsee customer name and invoice, yes. 17 auditing standards by not being independent when they
18 Q. And then you see invoice only at the end? 18 did their audits?
19 A. Yes, I do. 19 A. Ifyou violate the appearance of
20 Q. And then if you look down at the percentages 20 independence, you do. You would not be independent if
21 ___ for invoice only, it says 61.43 percent? 21 you're not -- if you don't appear to be independent.
22 A. Yes. 22 Q. So then assuming my facts, even if they did
23 Q. In your opinion, is this evidence of BDO 23 perfect audits, but they were not independent in 1998,
24 Seidman's subordination of their judgment in their 24 1999, 2000, 2001, and 2002, would BDO have violated
25 audits of E.S. Bankest? 25  generally-accepted auditing standards because they were
Page 2528 Page 2530
1 A. Yes, it is. They've got invoice-only audit 1 not independent?
2 evidence; they can't get anything else. You can't 2 A. If you're not independent even if you've
3 possibly determine if a receivable -- you start out to 3 done perfect audits, your report is no good.
4 confirm a receivable with a Wal-Mart, with a customer. 4 Q. So--
5 And you can't possibly determine by looking at invoices. 5 A. So you can't do it. You have to be
6 You have to find out if the -- for example, if the 6 independent under generally-accepted auditing standards.
7 materials were shipped. 7 It's a bedrock principle. You've got to be independent.
8 MR. COLE: Outside the scope. 8 Q. lIunderstand that. So I need you to focus,
9 THE COURT: Overruled. Go ahead. 9 please, on my question. If they are not independent,
10 THE WITNESS: Okay. You have to support an 10 not independent --
11 invoice with proof of shipment to find out if anything 11 A. Not independent.
12 was shipped. I could create invoices all day long to 12 Q. Even though they do perfect audits --
13 Mr. Thomas, for example, alleging that he owed me money 13 A. Yes.
14 — for work in this case. And that doesn't mean -- unless 14 Q.  -- for 1998, 1999, 2000, 2001, 2002, if
15 I provide the services are here with some of the other 15 they're not independent, did they nonetheless violate
16 customers, unless the goods were provided, there's 16 —_generally-accepted auditing standards in doing their
| 17 _ evidence of shipping, this is woefully inadequate as 17 audits?
18 audit evidence, and it demonstrates -- the only thing 18 A. Absolutely.
19 you can get here are a bunch of invoices, and that, by 19 Q. Thank you.
20 _ itself, is not enough to take the place of not getting 20 MR. THOMAS: And can we go to paragraph 24,
21 confirmation from the person or company that owes the 21 ~~ please.
22 money. 22 (Technician complies.)
23. BY MR. THOMAS: 23 BY MR. THOMAS:
24 Q. Dr. Guy, I want you to assume for me that 24 Q. Lapologize, Dr. Guy. I think the reason
25 you're having -- I don't think I have my mic on.

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23 (Pages 2531 to 2534)
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1 Better? 1 above justify my beliefs.

2 A. Better. 2 You see that?

3 Q. Now, Dr. Guy, you understand this to be 3 A. Yes, I do.

4 paragraph 24 of Mr. Rivera's declaration? 4 Q. What's ADC?

5 A. Yes, it is. 5 A. A BDO term that refers to alternative
6 Q. And if you look here, it says that 6 distribution channels.

7 Mr. Lenner said that he had known Mr. Parlapiano for 7 Q. And alternative distribution channels, is

8 many years and that they had developed a good 8 that auditing?

9 professional relationship. And then he says he also 9 A. No. It's other ways to generate revenue for
10 noted that as a manager I should be looking for ways to 10 =a CPA firm.
11 _ bring in new business and suggested that working for il Q. And in this case how did BDO identify an ADC
12 Bankest could lead to other work through Mr. Parlapiano, {12 to generate other money for BDO?
13 the Orlanskys, and affiliates of Bankest. 13 A. They basically through Mr. Parlapiano were
14 Dr. Guy, in this case, do you understand 14 able to form a technology alliance business relationship
15 that working for Bankest did lead to new business for 15 with StrataSys.
16 BDO? 16 Q. Do you know what a loss leader is?
17 A. Yes, I do. 17 A. Yes, Ido.
18 Q. And that through Mr. Parlapiano did lead to 18 Q. What is it?
19 other work for BDO? 19 A. A loss leader is a term that's widely used
20 A. Yes, Ido. 20 in business. For example, even in retail business, a
21 Q. And what was that other work? 21 company will have a product that is fairly desirable,
22 A. Well, it led to the creation of a technology 22 _ sell it at a loss, and the people come in to buy the
23 alliance relationship with StrataSys. 23 product, and they buy a bunch of other things.
24 MR. THOMAS: May I approach the witness with 24 Well, here it's also used in the auditing
25 Plaintiffs' Exhibit 415-B in evidence? 25 _ profession to -- unfortunately in a way that get your

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1 THE COURT: You may. 1 foot in the door with a client and then through the

2 MR. THOMAS: (Complies.) 2 client and relationship with the client establish other

3 BY MR. THOMAS: 3 business venues and extend your revenue sources. So you

4 Q. Dr. Guy, do you understand this to be the 4 basically price the audit below what it really cost you.

5 memo that Mr. Lenner wrote to the CEO of BDO to get a 5 Q. And in this case, Dr. Guy, did BDO Seidman

6 bonus? 6 use their audit of E.S. Bankest to try to generate other

7 A. Ido. 7 revenue like StrataSys?

8 Q. And if you look down at the bottom of the 8 A. Well, they certainly had expectations to

9 first page there, Mr. Lenner writes that Dave Larson and 9 with Bankest and with Mr. Parlapiano. He's an important
10 [recently closed an IT alliance firm transaction with 10 person in the business community, and he would be a
11 = StrataSys, Inc. And if you look a little lower it says, 11 —_ great networking source and business-generating source.
12 J have very high expectations for the Miami office and 12 Q. If we read a little more of what Mr. Lenner :
13 the firm asa result of this alliance. 13 writes, he says, I have smelled the cheese for the past i
14 Do you see that? 14 couple of years. I have realized not only must we H
15 A. Yes, Ido. 15 maintain and upgrade our core practice but we must
16 Q. Is this the StrataSys relationship that you 16 diversify into new areas such as ADC, alliances, and :
17 were referring to? 17 mergers. There is a common pattern to the process. I ;
18 A. That is the relationship I alluded to. 18 have seen and learned that preexisting CPA business i
19 MR. THOMAS: Now, can you please turn with 19 strategies and structures become inflexible over time. !
20 me to page 3, and can we look at paragraph 4. 20 These structures may survive for some period with the F
21 (Technician complies.) 21 protection of general apathy, but eventually external :
22 BY MR. THOMAS: 22 catalysts move the cheese for the practicing CPA and f
23 Q. And the first thing Mr. Lenner writes here 23 give a loud wolf how! wake-up call to the pack, the :
24 _ is, notwithstanding the importance of my core assurance 24 firm. ‘
25 practice, I truly believe in ADC. My actions set forth 25

Dr. Guy, based on your expertise, what was ;
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24 (Pages 2535 to 2538)

 

    
   
  
  
   
   
   
  
  
  
   
  
   
  
  
  
   

 

   

 

 

   

   
  
   
  
  
   
  
  
   
   
   
   
   
  
   
   
    

Page 2535 Page 2537—
1 BDO Seidman trying to do with these alternative 1 A. Yes. Not per se with alternative
2 distribution channels as related to their auditing 2 distribution channels but when an alternative
3 services? 3 distribution channel such as StrataSys impinges on your
4 MR. COLE: Objection. Speculation. 4 audit client, you can't, you know, sell out your audit
5 THE WITNESS: Well. Based -- 5 to generate additional revenues.
6 THE COURT: Hold on. Hold on. 6 Q. And if we look up here, is it says, outmoded
7 MR. COLE: And beyond his expertise, as 7 practices become obvious and limit success. Opening up
8 well. 8 the distribution channel through ADC, consolidations or
9 THE COURT: I'm sorry, what was that? 9 mergers must happen in order for there to be enough
10 MR. COLE: Speculation beyond his expertise. 10 cheese to be eaten.
11 THE COURT: Sustained. 11 In reaching your opinion, did you review the
12 BY MR. THOMAS: 12 deposition testimony of Mr. Herrera?
13 Q. Dr. Guy, did you have an opportunity to 13 A.. Yes, I did.
14 _ review the testimony of Mr. Lenner? 14 Q. In reaching your opinion, did you rely upon
15 A. I did review the testimony of Mr. Lenner. 15 Mr. Herrera's testimony that it precisely this time --
16 Q. Did you see the, and rely upon, the portion 16 MR. COLE: Objection, Your Honor.
17 of Mr. Lenner's testimony where he stated that -- 17 THE COURT: Sustained.
18 MR. COLE: Objection, Your Honor. — . 18 BY MR. THOMAS:
19 THE COURT: Sustained. Ask a question. 19 Q. In reaching your testimony -- I'm sorry, in
20 BY MR. THOMAS: 20 reaching your opinion, did you rely upon the testimony
21 Q. Dr. Guy, when you reviewed Mr. Lenner's 21 of Mr. Herrera concerning the financial abilities of the
22 testimony and relied upon it to perform your opinionin § 22 Miami office at the time this memo was written?
23 _ this case, did you rely upon the portion of his 23 MR. COLE: Objection, Your Honor.
24 testimony -- 24 THE COURT: Overruled.
25 MR. COLE: Objection. 25 THE WITNESS: Yes.
i Page 2536 Page 2538
1 MR. THOMAS: -- where he testified -- 1 BY MR. THOMAS:
2 THE COURT: Same question. 2 Q. And what was that?
3 Sustained. 3 A. Mr. Herrera indicated he came to BDO, he
4 MR. THOMAS: I'm sorry, did you -- start 4 stayed a short period of time, I think a little bit over
5 again. 5 two months or so, and he testified that he left
, 6 THE COURT: Sustained. 6 because --
7 BY MR. THOMAS: 7 MR. COLE: Objection.
8 Q. In forming your opinion in this case, did 8 THE COURT: Sustained.
9 you rely on the testimony given by Mr. Lenner? 9 BY MR. THOMAS:
10 A. Yes. 10 Q. In reaching your opinion, what about
11 Q. Did you rely upon the testimony given by 11 Mr. Herrera's testimony did you rely upon?
12 Mr. Lenner relating to his moving the cheese? 12 A. He said that --
13 A. Yes. I read this material, yes. 13 MR. COLE: Objection.
14 Q. And what did -- and in reaching your 14 THE COURT: Sustained.
15 testimony, did you rely upon where he talked about 15 BY MR. THOMAS:
16 growing his practice? 16 Q. Dr. Guy, you've just got to tell us what you
17 MR. COLE: Objection. 17 _ relied upon in reaching your testimony.
18 THE COURT: Overruled. 18 MR. COLE: Objection.
19 THE WITNESS: Yes. 19 THE COURT: Overruled.
20 BY MR. THOMAS: 20 THE WITNESS: That the Miami office was
21 Q. And in relying upon that in reaching your 21 having some financial problems.
22 testimony here today, based on your expertise as an 22 BY MR. THOMAS:
23 ethics expert, do you have an understanding of the 23 Q. Dr. Guy, now, when BDO Seidman pursued the
24 ethics problems caused by just what Mr. Lenner's talking §/24 StrataSys relationship, when their office was in
25 about in this paragraph? 25 financial difficulty, the relationship between StrataSys

 

  

 

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25 (Pages 2539 to 2542)
Page 2539 Page 25419
1 and BDO and Bankest and BDO, did that relationship cause 1 AFTERNOON SESSION
2 an independence problem for BDO? 2 (1:45 p.m.)
3 A. Yes. A first class conflict of interest. 3 Thereupon,
4 Q. And it would be helpful to you in explaining 4 DAN GUY
5 that to this jury to illustrate it for them. 5 was recalled as a witness and, having been previously
6 A. Yes, it would be easier to see on paper, I 6 duly sworn, was examined and testified further as
7 think, than hearing words. 7 ~~ follows:
8 THE COURT: Why don't we do this before he 8 MR. COLE: Judge, before we get started,
9 starts drawing. Is he going to start drawing? 9 Your Honor, I just wanted to clarify an objection that I
10 MR. THOMAS: He's going to start drawing 10 had this morning.
11 snow. 11 THE COURT: I know what you're going to say
12 THE COURT: No, let's not do that. Let's go 12 but go ahead and say it.
13. tolunch. 13 MR. COLE: You always know what I'm going to
14 Ladies and gentlemen, you're not to discuss 14 say. How does that happen?
15 the case amongst yourselves. You're not to and discuss 15 When Mr. Guy referred to his own textbook, I
16 _ orallow anyone to discuss the case with you, and you're 16 believe that that was improper and made the objection at
17 not to discuss the testimony with anyone. 17 the time but for the record we believe that the law is
18 You're not to form a definite or fixed 18 pretty clear that an expert witness is not allowed to
19 opinion about the case until you've heard all the 19 refer to a learned treatise in support of his opinion
20 evidence, the arguments by the lawyers, and the 20 both on the grounds of hearsay and bolstering under 706.
21 instructions of the law by me. 21 ‘The only time you're allowed to use a treatise is on
22 You're not to see, hear, or read any 22  cross-examination.
23 accounts of this case in the media, and you're to ignore 23 And Mr. -- Dr. Guy is obviously the
24 the lawyers’ presence outside this courtroom and they're 24 plaintiffs’ expert. Your Honor, we cite in favor of our
25 to ignores yours and that includes the witness. 25 position Green vs. Goldberg, 630 So.2nd 606 and Donshik
Page 2540 Page 2542 i
1 Leave your notes. And 1:30 in the jury 1 vs. Sherman, 861 So.2nd 53.
2 room. J think that's what he tells you. 2 Your Honor, again it was improper
3 Have a good lunch. 3 bolstering. The document should not have come in also
4 (Thereupon, the jury was escorted out of the 4 on the grounds that it's hearsay. And putting it up on
5 courtroom.) 5 _ the screen and having the witness testify from it
6 THE COURT: Dr. Guy, you are not to discuss 6 created multiple levels of hearsay and impropriety. And
7 the testimony you've given or you're about to give with 7 that's the reason I wanted to make that clear for the
8 anyone and that includes all the lawyers. 8 record.
9 Have a good lunch. 9 I, therefore, move also to strike Dr. Guy's
10 (Whereupon, at 11:55 a.m., a luncheon recess 10 testimony on that ground. And it’s -- I was referring
11 was taken.) 11 to Rule 706 of the Florida Rules of Evidence and I move
12 12 to strike the testimony.
13 * *  * 13 THE COURT: Mr. Thomas?
14 14 MR. THOMAS: Can I see the cases?
15 15 MR. COLE: I was just referring
16 16 to (indicating) Lynn vs. Fossum, but I know it came out
17 17 right before our case law. I just don't have it. I'm
18 18 happy to update the record. It's 946 So.2nd 1032, a
19 19 Supreme Court case. And if J may hand it up, Your
20 20 Honor.
21 21 (Complies).
22 22 MR. THOMAS: Judge, these cases, including
23 23 Lynn vs. Fossum which talks about not being able to rely
24 24 upon other experts to build your expert testimony is not
25 25 what happened here. What happened here, he wasn't
TTS VT ED ALE SUE LY, SRI SII BI ETT ER TG TERT TONED PTT OPI ESTO SY FORTE oT OTE ETRE REE PF TESTI ST ET ES EE I Te TE IES BTS STR CSE TOES SEE TSIEN EES

 
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26 (Pages 2543 to 2546)

 

   
   
  
  
  
  
   
    
  
  
  
  
  
  
  
  

 

 

 

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1 relying on what someone else said. He was relying on 1 Q. And how much money have you made for this
2 what he said. And that’s what's different than these 2 case?
3 cases. 3 A. $320,000, approximately.
4 Also, it goes to his qualifications as an 4 Q. And are you charging me the same rate you
5 expert and it is certainly not improper bolstering or 5 charge others?
6 hearsay. 6 A. Yes, lam.
7 THE COURT: Anything else, Mr. Cole? 7 Q. And do you know in your experience is that
8 MR. COLE: No. I think it's clear that 8 about right for the amount of money for this kind of
9 Green vs. Goldberg is directly on point. It deals with 9 case for doing the work that you're doing?
10 the learned treatise exception and 706 talks about the 10 A. It's about right. Sometimes it's a little
11 use of learned treatises only in connection with 11 less and sometimes it’s a lot more.
12  cross-examination. 12 Q. And Dr. Guy, sometimes when you've been __
13 THE COURT: Thank you. Anything else? 13 retained by an accounting firm to represent them as an
14 MR. COLE: That's it. 14 expert --
15 THE COURT: At this time, your request is 15 A. Yes.
16 ~~ denied. 16 Q. -- have you ever reviewed the file and then
17 (Thereupon, there was a brief pause.) 17 said you can't do the work?
18 THE COURT: All right. Bring them in. 18 A. Yes, Ihave.
19 THE BAILIFF: All rise for the jury. 19 Q. And when you review the file and say you
20 (Thereupon, the jury was brought into the 20 can't do the work, how come?
21 courtroom.) 21 A. Well, sometimes it's a case where I feel
22 THE COURT: You may be seated. Allright, §22 _ like it's not a very good case. For example, sometimes
23 ladies and gentlemen, let's see if we can move it along. §23 I'll find that the firm is not independent and therefore
24 Mr. Thomas, you may proceed. 24  Jreject the work. I get paid for the work I've done
25 DIRECT EXAMINATION (continued) 25 but in my engagement letter I have a withdrawal
Page 2544 Page 2546 i
1 BY MR. THOMAS: 1 provision, so I withdraw from the engagement.
2 Q. Dr. Guy, when you left the AICPA did you go 2 Q. And if you withdraw from the engagement then
3 into your own consulting practice? 3 you don't make any more money?
4 A. Yes. 4 A. That's correct.
5 Q. And did you consult for accounting firms? 5 Q. And have you ever been -- tried to be
6 A. Yes, I did. 6 _ retained by someone who is suing an accounting firm and
7 Q. And did you also begin doing expert 7 ~~ after looking at it say no, I can't do that?
8 testimony? 8 A. That's correct.
9 A. That's correct. 9 Q. And when that happens you do not make the
10 Q. And in doing expert testimony, Dr. Guy, do 10 money on the engagement going forward?
11 you sometimes testify for accounting firms who are 11 A. That's correct.
12 defending their audits? 12 Q. And Dr. Guy, in this case we were talking
13 A. Yes,Ido. 13 about the stool. Do you remember that?
14 Q. And sometimes do you testify for people like 14 A. I'msorry, talking about ---
15 me who are suing accounting firms? 15 Q. We were talking about the stool.
16 A. Ido. That's correct. 16 A. Yes. Okay.
17 Q. Dr. Guy, you are being compensated for your 17 Q. And the three legs of the stool are
18  ~=work? 18  imtegrity, objectivity and appearance of independence.
19 A. Yes, Iam. 19 Do you remember that?
20 Q. And you're being compensated for the work 20 A. Yes, Ido.
21 you've done in reviewing these audits? 21 Q. And we've also talked about subordination of
22 A. Yes, I have been. 22 judgment, do you remember that?
23 Q. And for reaching -- and for working on an 23 A. That's correct.
24 opinion on ethics? 24 Q. And which legs of the stool does
25 A. That's correct. 25 subordination of judgment affect?

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27 (Pages 2547 to 2550)

 

 

   
    
   
   
   
   
   
   
   
   
   
  
   
   
   
   
   
   

 

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1 A. Well, actually at ET-54 there's a 1 = StrataSys.
2 subordination of judgment. But primarily from a rules 2 Q. And is there an individual business person
3 perspective it's under objectivity and Rule 102 of the 3 who is both at Bankest and StrataSys?
4 AICPA code of conduct addresses subordination of 4 A. That's correct. For example, Mr. Parlapiano
5 judgment, also. : 5 is the CFO, the chief financial person here and he's
6 Q. Now, just before we went to lunch we were 6 also involved here with the management of StrataSys.
7 talking about StrataSys and a conflict of interest. Do 7 Q. And in doing the audit of E.S. Bankest, what
8 you remember that? 8 is BDO's role?
9 A. Ido. 9 A. Well, basically BDO has to be independent in
10 Q. And is it your opinion that in its business 10 ~— doing this audit. And they've got to do the audit in
11 relationship with StrataSys, while it was also auditing 11 accordance with generally accepted auditing standards.
12  E.S. Bankest, that BDO Seidman had a conflict of 12 Q. And in the time period 2001-2002, do you
13 interest? 13 know approximately how much accounts receivable was
14 A. Yes, they did. 14 going from StrataSys to Bankest?
15 Q. And is it your opinion that BDO Seidman as a 15 A. Well, StrataSys was factoring its -- I think
16 result was not independent in doing the audits of E.S. 16 you've referred to them as IOUs or accounts receivable.
17  Bankest? 17 Accounts receivables, and in 2001 I believe there were
18 A. That is correct. 18 21.5 million dollars. And in 2002 there were 45 million
19 Q. And we were going to do some drawings. 19 dollars of accounts receivables.
20 Would it be helpful to you to come down and explain that —§ 20 Q. So what does that total up to about?
21 to the jury? 21 A. 47.5 million. I mean, I'm sorry. 67.5
22 A. Okay. 22 million. Well, I'll just add it up, how's that? I'm so
23 (Complies). 23 used to using calculators.
24 MR. COLE: Can I? 24 Q. So going from StrataSys to Bankest was
25 THE COURT: You may. 25 supposed to be about in 2001 and 2002, 66.5 million in
i Page 2548 Page 2550 E
1 MR. COLE: (Complies). 1 accounts receivable?
2 (Relocates to another side of the room.) 2 A. That's correct.
3. BY MR. THOMAS: 3 Q. And for BDO and Mr. Lenner, was one of their
4 Q. Dr. Guy, this business relationship involved 4 jobs as the auditor to say whether that 66.5 million in
5 BDO, StrataSys and Bankest. Would it be helpful for you 5 accounts receivable was real or fake?
f ©  toillustrate that? 6 A. One of the responsibilities here. And of
7 A. Okay. 7 course StrataSys, by the way, is buying these
_8 (Complies). 8 receivables -- I mean StrataSys is selling the
9 So Bankest here is the BDO audit client and 9 receivables. So money is going this way. Bankest is
10 of course we talked about the business alliance 10 buying the receivables. And one of the responsibilities
11 relationships, and that is StrataSys. And here we're 11 of BDO is to determine if these receivables are real or
12 talking about, of course, BDO conflict. It's the 12 fictitious in the financial statements of Bankest
13 purpose of this illustration. 13 because you're auditing the financial statements of
14 Q. And where is BDO in this conflict? 14  Bankest. BDO was auditing the financial statements of
15 A. Well, BDO is the auditor and BDO also is -- 15  Bankest.
16 has their alliance relationship, a technology alliance 16 Q. And BDO, do they have an expectation of
17 relationship with StrataSys. So this is what we call a 17 receiving money from StrataSys as part of their
18 technology alliance relationship here. 18 relationship, the part on the right?
19 Q. And what is Mr. Lenner's role with BDO's 19 A. Certainly. One of the things, their license
20 ~~ audit? 20 fees and there are other kind of monetary relationships
21 A. Mr. Lenner is the audit engagement partner 21 or monetary expectations based on their alliance
22 from the audit side for Bankest. 22 agreement. License fees being one example.
23 Q. And what is he on the StrataSys side? 23 Q. And Dr. Guy, would BDO have any expectation
24 A. On the StrataSys side, Mr. Lenner is the 24 of receiving business from StrataSys at the same time
champion, the point person for this relationship with 25 that BDO and Mr. Lemner are deciding whether or not the

 

 

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accounts receivable from StrataSys are real or fake, are
they demonstrating the judicial impartiality that's
required by the rules?

A. No. BDO has a conflict of interest here.

And one of the primary reasons they have a conflict here
is they basically have to be objective and impartial,
judicial impartiality. And they're championing this
business and of course they want fees as well from the
alliance relationship.

So on the one hand they're rooting for
StrataSys. On the other hand they have to be totally
without bias when they audit the financial statements of
Bankest. So it's obvious they're going to have great
difficulty being hard-nosed about whether these
receivables are real or fictitious.

Q. And Dr. Guy, have you had a chance to review
the testimony and review the agreement between BDO and
StrataSys from which their business relationship --

A. Yes, Dhave.

Q. And can I ask you, maybe you can just draw a
line across the bottom there?

A. Okay.

(Complies).

Q. And would it be helpful for you to use below
there to demonstrate the different ways BDO had high

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mean, if StrataSys does that, if they make a referral to
businesses, then BDO makes five percent of that.
Likewise, the alliance members, other alliance members
I'm talking about could refer work to StrataSys and in
that situation BDO would get five percent of this.

And in addition, there are commissions
involved here in terms of products that BDO or StrataSys
might have on hand, they would get a commission for
selling these products to outsiders.

And there are management fees in terms of
the expectation.

And finally, new members. For example, if
StrataSys identifies a new member, then BDO would pay
back one-third of the license fee up to I believe
$10,000 and BDO would retain the remainder.

Q. Dr. Guy, I know that BDO received license
fees and Mr. Lenner received a fee. But in -- from an
expert -- from your expert opinion, when you look at
this arrangement, is it the amount of money that BDO
gets or is it the expectation of money that creates the
conflict?

A. Well, it’s the relationship here that per se
creates a conflict.

Q. Thank you very much, Dr. Guy.

MR. THOMAS: With Your Honor's permission

 

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expectations they would make money from StrataSys?
A. Okay.
Q. Do you remember what some of those were?
A. Yes, Ido. It's quite a laundry list.
Q. You think you're not going to have enough
room?
A. I'm not going to have enough room.
Q. Okay. Flip that back?
A. (Complies).

Is this the way that BDO's expectation of
dollars of money to be made from the technology alliance
relationship. And I've already indicated that license
fees were one way. Other ways, they had referral fees
and there are lots of ways that referral fees come into
play in this alliance relationship. For example, BDO
could refer work to StrataSys and in that situation
StrataSys would be obligated to kick back 20 percent of
the revenue from that work.

Also, StrataSys could refer work to BDO, BDO
would basically pay back 20 percent and retain 80
percent.

StrataSys could also refer work to
alliance -- other members of the alliance, their CPA
firms and others that are members that are involved in
this alliance relationship. And if BDO does that -- I

 

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I'll have your clerk mark them for ID.
THE COURT: Have them both marked for ID.
MR. THOMAS: Would you like for me to bring
them there? I can bring them there.
(Complies).
MR. THOMAS: At this time, Plaintiffs move
into evidence Plaintiffs' Exhibits 7346, 7347, and 7348
marked for ID.
MR. COLE: Actually, I don’t think it is in :
evidence. ;
THE COURT: Do you have an objection? i
MR. COLE: I have an objection.
THE COURT: Sustained.
MR. THOMAS: Your Honor -- I'll address it
at side-bar. i
BY MR. THOMAS:
Q. Now, Dr. Guy, you should have up there with
you hopefully still Plaintiffs’ Exhibit 415-B.
A. Okay. The good-guy memo, yes.
Q. Exactly. And if we can go to the bottom of
the page. When you were writing on your exhibit there
the high expectations BDO had and Mr. Lenner had for
StrataSys, were you relying upon Mr. Lenner's own memo
where he says "I have very high expectations"?
A. Yes, I was.

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Q. And if you could please turn the page,
Dr. Guy.

A. And we looked at the -- under the alliances,
where Mr. Lenner wrote about the factoring alliance.
And he says, "Michael O'Hare and I met in July of 2001
with the principals of one of my factor clients to
provide factoring services to BDO clients and the
alliance member firms' clients. Both BDO and my client
are very excited about the potential and are working out
the economics of the transaction."

Q. Dr. Guy, can you go into business with your
own audit clients?

A. No, this would not be permitted. You would
definitely not be independent if you established a
factoring business with your audit client.

Q. And where BDO and Mr. Lenner are very
excited about the potential and are working out the
economics of the transaction, is this another way BDO is
looking to make money off their audits?

A. It appears to be a way to make money.
Obviously, there's nothing wrong with CPAs making money
but this is certainly directed towards making more
money.

Q. And Dr. Guy, in fact, in entering into an
alliance in and of itself, that's okay for an accounting

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professional judgment, be viewed by the client,
employer, or other appropriate parties as impairing the
member's objectivity."

Did that happen here?

A. Yes.

Q. Does the relationship between BDO and
StrataSys and Mr. Lenner and StrataSys and BDO and
Bankest and Mr. Lenner and Bankest violate this rule?

A. It violates Rule 102 and it violates the
interpretation here that we have in front of us, 102-2.

Q. Now, if you look at the next sentence it
says, "If the member believes that the professional
service can be performed with objectivity and the
relationship is disclosed to and consent is obtained
from such client, employer, or other appropriate
parties, the rules shall not operate to prohibit the
performance of the professional service. When making
the disclosure, a member should consider Rule 301."
Does that apply here?

A. Yes, it does and in a rare circumstance you
could get a conflict and you could get all the parties
to give you a green light and you could proceed with
what we call a restricted use audit report.

Q. Let me take that in two parts.

A. Okay.

 
 
   
   
   
    
   
   
   
   
   
   
   
   
    
   
   

 

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firm, isn't it?
A. Yes, itis. It's only when it has an

adverse impact on the audit client. It's the

relationship with the audit client that generates the
problem.

Q. So in this case, is the problem that BDO
entered into an alliance with another company or is the
problem that BDO entered into an alliance with StrataSys
when they were saying whether the accounts receivable
from StrataSys were real or fake?

A. That's part -- a big part of the problem.

Q. Dr. Guy, take a look at another rule if you
would with me. In that big stack I gave you I think
it's kind of opened up to 102-2.

A. Yes.

Q. And that's Exhibit 7344 into evidence. And
I'd like for you to -- we've been talking about the
conflicts of interest and I'd like you to look down at
102-2 with me entitled conflicts of interest.

A. Yes.

Q. And it provides that "A conflict of interest
may occur if a member performs a professional service
for a client or employer and the member or his or her
firm has a relationship with another person, entity,
product, or service that could, in the member's

 

  

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Q. In this case, who did BDO need to get
consent from?

A. Basically all the parties that would be
users or recipients of the audited financial statements,
the note holders, bank, board of directors, clients, all
of the parties.

Q. And did that happen here?

A. No.

Q. Now, it also says if the member believes
that the professional services can be performed with
objectivity, do we just go on what BDO thinks?

A. No. First you have to recognize that
there's a conflict problem. You have to recognize that
102-2 applies. And then you have to make a judgment and
the judgment has to be reasonable and appropriate in the
circumstances and you have to view the relationship from
the perspective of a third party and see what they would
conclude.

So two things here. One, you must recognize

it, hey, I've got a conflict problem, 102-2 applies.
And then you must basically analyze it and put yourself
in the shoes of the third party that would have
knowledge of all the facts and circumstances to come to
an appropriate decision that you can proceed to then go
to the next stage and get permission, get a green light

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1 from all the users. 1 A. That's correct.
2 Q. Now, if all those things happen, first you 2 Q. And on the second page we see the
3 _ recognize the problem, then you get consent from 3 independent auditor's report signed by BDO Seidman, is
4 everybody that's going to be affected by the audit 4 that right?
5 opinion and it's reasonable, you said that there was 5 A. That's correct.
6 a--I'msorry, a restricted opinion that you can issue? 6 Q. Would you please turn with me to page 13?
7 A. Yes, I did. 7 A. (Complies).
8 Q. And what's a restricted audit report? 8 Q. And could we highlight the "an officer of
9 A. The audit report would be restricted to 9 the company"?
10 those parties that gave you the green light to proceed 10 (Technician complies.)
11 when faced with the potential conflict as opposed to a 11 Now, Dr. Guy, you were referring to a
12 general use report which is available to any and 12 footnote where you saw actually that effected a
13 everybody. 13 conflict. Is this the footnote you were referring to?
14 Q. And were the audit reports that BDO Seidman [14 A. Yes, it is.
15 issued in this case restricted? 15 MR. COLE: Objection, speculation.
16 A. No. No audit report including those where 16 THE COURT: Overruled.
17 the conflict is at for year 2001 and 2002, the reports 17. +BY MR. THOMAS:
18 are general use reports. They're not restricted to 18 Q. And, in your opinion, what is the effect
19 defined parties. 19 here?
20 Q. Dr. Guy, I know we talked about before the 20 A. I'msorry, you turned. ;
21 __ break that even if it's a perfect audit, if BDO Seidman 21 Q. Your opinion, what is the effect here in
22 has aconflict of interest, then they still violate the 22 this footnote?
23 rules. 23 A. Basically there are lots of things wrong
24 A. That's correct. You have to be independent 24 with this footnote. This is a footnote under related
25 to do an audit. 25 parties, the caption is under related parties. And
Page 2560 Page 25629
1 Q. But in this case involving StrataSys, did 1 GAAP, generally accepted accounting principles, have
2 you see evidence that the conflict of interest actually 2 very strict requirements for related parties because --
3 affected their work? 3 MR. COLE: Objection.
4 A. Yes. For example, it manifested itself, the 4 BY MR. THOMAS:
5 conflict showed itself and even the disclosures in the 5 Q. You don't have to stop speaking unless he
6 financial statements about -- the footnote disclosures 6 actually starts speaking.
7 about StrataSys and their related parties. 7 THE COURT: Overruled.
8 MR. COLE: Objection. 8 THE WITNESS: GAAP, generally accepted
9 THE COURT: Overruled. 9 accounting principles, has very stringent requirements
10 BY MR. THOMAS: 10 for related parties to go by because otherwise you
11 Q. With His Honor's permission, I'll approach 11 couldn't consume or interpret or use financial
12 ‘you with Plaintiffs’ Exhibit Number 84 in evidence and 12 statements unless you know how related parties affect
13 Plaintiffs' Exhibit Number 307 in evidence. 13 that financial statement. So one of the things here,
14 THE COURT: You may. 14 _ there are a number of things wrong. 2
15 MR. THOMAS: (Complies). 15 First of all, GAAP requires this disclosure. f
16 BY MR. THOMAS: 16 _ Bankest and StrataSys are absolutely related parties. :
17 Q. Can we please look at Plaintiffs Exhibit 84 17 _ So this disclosure is required. And one of the things ;
18 in evidence? 18 you have to disclose is the amount of receivables due to
19 (Technician complies.) 19 and from a related party. Here it says purchased 3.2
20 Dr. Guy, you understand Plaintiffs' Exhibit 20 million dollars. Apparently this footnote was copied ;
21 84 in evidence to be the financial statements audited by 21 from the prior year with no change. And actually, I :
22 BDO Seidman in 2001? 22 know that the receivable balance is 21 -- I believe 21.5 :
23 A. Yes. Presented in a comparative format, 23 million dollars. So it's grossly understated. This is E
24 yes. 24  amaterial misstatement of the financial statements :
25 Q. With 2000? 25 BY MR. THOMAS:

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1 Q. I'm sorry to stop you but I just wanted to 1 BY MR. THOMAS:
2 cover two things. 2 Q. And Dr. Guy, this is required by GAAP that
3 A. Yeah, we've covered a bunch of things. 3 the 3.2 million understates by about 18 million dollars
4 Q. Number one, in your opinion this disclosure 4 what BDO has in its own work papers and it talks about
5 is required by generally accepted accounting principles? 5 _ purchasing. Are there any other issues with this
6 A. Itis absolutely required by generally 6 disclosure?
7 accepted accounting principles. 7 A. You have to disclose the financial
8 Q. And the second thing I believe you said is 8 statements for both the years. You have to disclose
9 that the 3.2 million grossly understated the amount of 9 both years. And the last year it had 3.2 million
10 receivables that BDO was showing in their work papers? §10 dollars and it was understated as well. It should have
il A. That's correct. 11 been 11. So it should disclose purchases. It should
12 Q. And for that I’m going to ask you to please 12 disclose the receivables, and GAAP requires that you
13 look at the other exhibit I gave you, Plaintiffs’ 13 disclose the transactions, the nature of the
14 Exhibit 307 in evidence. 14 relationship and the type of transaction. Some of that
a5 Now, I know that the typing is small, 15 is disclosed here but it's a woefully deficient
16 Dr. Guy, but do you see two places on there for 16 disclosure that as CPAs we all know related parties are
17 StrataSys? _ 17 high risk transactions. We put those under the
18 A. There are two places. Like, it could be 16. 18 microscope and handle those with kid gloves. And here
19 18.5 million is one item. 19 it's just a run -- it rans roughshod over what GAAP
20 Q. I'm going to suggest, Dr. Guy, I know you 20 requires and it's totally inappropriate and it makes
21 are -- it's a little difficult to see but it's 16 21 _ this financial statement materially misstated in and of
22 million. 22 and by itself.
23 A. Okay. 23 Q. And with that last statement, Dr. Guy, did
24 Q. Let's make sure you can see it and you agree 24 you mean if the only problem was this footnote would
25 with me. 25 this financial statement still be materially misstated
Page 2564 Page 25668
1 A. Yes. 1 in violation of GAAS?
2 Q. Can you see it okay on the screen? 2 A. GAAP. In violation of GAAP, generally
3 A. Yes. And the next one is 5 million. And 3 accepted accounting principles. And the answer is
4 those two added together, that's where I was getting the 4 absolutely because footnotes are required. Footnotes,
5 21.5 million from if I added that correctly. 5 you can't constrain financial statements and GAAP
6 Q. That you wrote up on when you were doing 6 requires a lot of information that's of special interest
7 ~~ the -- 7  tousers to be in notes to financials. So you can't say
8 A. That's correct. 8 the balance sheet's okay because the number is above in
9 Q. And Dr. Guy, do I understand that this is 9 the financial statement and the footnotes, they're all
10  BDO's own work paper showing the amount of accounts 10 goofed up. That's totally inappropriate.
11 receivable from StrataSys from that financial statement 11 Q. If you would look with me at Plaintiffs' 87
12 we were looking at? 12 im evidence which is the 2002 audited financials which
13 A. Itis. This is their own work paper, yes. 13 should be right there in front of you on the table in
14 Q. And so in BDO's own work paper they showed 14 front of you.
15 21 and a half million dollars in receivables from 15 A. Okay.
16  StrataSys and then in the disclosure in the footnote it 16 MR. THOMAS: I'm sorry, may I approach? i
17 said 3.2. Do I have that right? 17 THE COURT: Yes. Hl
18 A. Yes, and the 3.2 is described as purchases, 18 THE WITNESS: Yes, I have it. Yes. y
19 notas receivables. So that's another problem. 19 BY MR. THOMAS: :
20 Q. Can we go back to the -- 20 Q. Thank you. Now, you understand that these Hi
21 THE COURT: Mr. Thomas, are you going to be 21 are the 2002 compared to the 2001 -- ;
22 a lot longer? 22 (Cell phone rings.) :
23 MR. THOMAS: I have an estimate of about 23 (Laughter). '
24 five to ten minutes. 24 MR. THOMAS: Nice ring. F
25 THE COURT: All right. 25 JUROR: Thank you. Sorry.

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32 (Pages 2567 to 2570)

 

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Page 2567

MR. THOMAS: It's okay.
BY MR. THOMAS:

Q. Doctor Guy, these are the 2002 financial
statements audited by BDO?-

A. Compared to begin with 2001, yes.

Q. And if we could go to the footnote here,
it's either on 13, maybe 14. Now this time it says 45
million dollars. Is that right, Dr. Guy?

A. It does say 45 million dollars.

Q. And it's on page 14 if you want to look.

A. Ihave the page number, yes.

Q. Now, Dr. Guy, you said that these financial
statements are comparative 2002 to 2001. So the year
before this footnote said 3.2?

A. Yes.

Q. Does an auditor, a certified public
accountant, do they have a duty to correct mistakes?

A. Well, these are the client's financial
statements. These are Bankest's financial statements.
And they're not the auditor's. The auditor is
responsible for the opinion on the financial and if
there's a mistake on the financial statements, as an
auditor and a CPA you tell the client, this is a
mistake, this doesn't comply with GAAP. Look at GAAP.
This is what you've got to do.

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Page 2569 ff

Q. But what the auditor does is the auditor is
the shield between the financial statements and the
people who use them?

A. That's correct.

Q. And if the auditor brings up a mistake and
it's not corrected must the auditor qualify their
opinion?

A. Well, here I would -- I'm not independent so
you could not -- you'd have to issue a funny kind of
report saying you're not independent. But if they
didn't correct this problem, they'd have to spell it
out.

Q. And in reviewing the financial statements,
the audits by BDO, did BDO correct any mistakes or spell
them out?

A. No.

MR. THOMAS: Without objection, Your Honor,
may I approach?

THE COURT: You may.

MR. THOMAS: (Complies).
BY MR. THOMAS:

Q. Dr. Guy, the three legs of our stool,
integrity, objectivity, and appearance of independence,
in this case for these audits that BDO Seidman did, did
they violate one leg of the stool, integrity?

 

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Page 2568

And if they don't correct it, you would
qualify the opinion. You would even say given the
magnitude of information here that these financial
statements are not -- everything else is okay. These
financial statements are not fairly presented. Now,
this assumes -- I'm sorry, that assumes that they were
independent.

Q. Yes. Yes, and your opinion is they're not
independent?

A. That's correct.

Q. And in this case, did BDO Seidman -- one of
their responsibilities was to audit this footnote?

A. Absolutely. Footnotes are an integral part
of financial statements.

Q. And Dr. Guy, if BDO Seidman audited this
footnote knowing that it jumped 42 million dollars from
the year before, was part of the obligations of a
certified public accountant to attempt to correct any
mistakes that they saw in the financial statements?

A. To basically identify -- to drill down, find
out what the problem is, and to tell the client, hey,
you've got a problem and this is what you've got to do
to rectify it. The auditor doesn't just make statements
in the financial statements. These are the client's,

25 _ these are the Bankest financial statements.

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Page 2570

A. Yes.

Q. Dr. Guy, for these audits that BDO Seidman
did, did they violate the second leg of the stool,
objectivity?

A. Yes.

Q. And Dr. Guy, for these audits that BDO
Seidman did, did they violate the third leg of the
stool, appearance of independence?

A. Yes, they did.

Q. And Dr. Guy, was BDO Seidman independent?

A. No. Not for any of these engagements. For
the 1998 they were not independent. For the 1999
engagement they were not independent. For the 2000
engagement they were not independent. For 2001 they
were not independent and for 2002 they were not
independent.

They had no foundation to issue the audit
reports on the Bankest financial statements. .

MR. THOMAS: Thank you, Dr. Guy. Thank you,
Your Honor. I hope I stuck to my ten minutes.

THE COURT: Ladies and gentlemen, I want you
to go back to the jury room. Do not discuss the case
amongst yourselves. We're going to take a break and
T'll bring you right back for cross-examination. Leave
your notes.

   

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33 (Pages 2571 to 2574)

 

   
    
  
   
  
  
  
  
  
  
  
   
  
  

 

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1 (Thereupon, the jury was escorted out of the 1 jury understand what the expert is talking about.

2 courtroom.) 2 They're not evidence in the case to show facts.

3 THE COURT: Dr. Guy, step outside. Do not 3 MR. THOMAS: Your Honor, the case -- Fourth

4 discuss the testimony you've given or the testimony 4 District case relied upon by BDO is a Fourth District

5 you're about to give and that includes all the lawyers. 5 case in 1994. I only am looking at the book. I don't

6 THE WITNESS: Is this a break? 6 have the case. The case I relied upon is also a Fourth

7 THE COURT: 15 minutes. Short break. 7 ~~ District case in 1997 which sets forth the four prongs

8 (Thereupon, a brief recess was taken.) 8 you must meet to admit it into evidence.

9 MR. THOMAS: Your Honor, prior to the break 9 THE COURT: You're talking about apples and
10 we marked as ID the drawings that Dr. Guy did for his 10 oranges. I disagree with you, Mr. Thomas. Mr. Cole is _
11 opinion and we moved it into evidence and the objection 11 correct.

12 was demonstrative. 12 MR. THOMAS: I'm sorry. I don't understand

13 THE COURT: Correct. 13 the apples and oranges.

14 MR. THOMAS: And I submit to Your Honor that §14 THE COURT: It's a demonstrative aid for the

15 _ that's not an appropriate objection because 15 jury. It’s not evidence in the case. It is helps the

16 demonstratives do become evidence and can be admitted. §16 jury understand what Dr. Guy is talking about. Just

17 In fact, in the last trial we admitted a number of them 17 because he writes it up on the chart doesn't make it

18 into evidence. 18 evidence. The chart is only helpful to make the jury.

19 THE COURT: I don't believe they were 19 understand or help the jury understand what he's talking

20 objected to. 20 about while he's explaining it.

21 MR. THOMAS: And under Florida law there 21 MR. THOMAS: Your Honor, if I would -- if I

22 must be four things established andI would submit, Your {22 could just read one portion of the case.

23 Honor, that we've established all four. One, the 23 THE COURT: Sure.

24 opinion evidence must be helpful to the trier of fact. 24 MR. THOMAS: The case I cited to you and

25 Number two, the witness must be qualified as an expert. 25 — which I'll hand up to the Court actually is addressing
Page 2572 Page 25745

1 Three, the opinion evidence must be applied to evidence 1 an expert illustrating his opinion. So it actually

2 _ offered at trial, which we did. And the evidence — 2 deals with exactly what we dealt with here and

3 __ well, must survive 403, the prejudice can't outweigh the 3 establishes the four prongs which we submit we met and

4 relevance. 4  [ilhand it to you.

5 And I can hand you the case and we can 5 Thanks, Judge.

6 actually do it later if you want, but we met all four 6 And we're ready, too, Judge.

7 prongs. So we would argue to Your Honor that we should 7 THE COURT: (Reading.)

8 be able to admit the three exhibits we marked for ID 8 MR. THOMAS: Sorry, Judge. May I just say

9 into evidence and that certainly demonstrative is not an 9 on the record even though he is not here, give kudos to
10 appropriate objection. And I'm going to hand the case 10 Geoffrey Marks whose presence is helping us out?

11 to Mr. Cole because I only have one copy. 11 THE COURT: (Reading.)

12 THE COURT: All right. 12 My ruling still stands.

13 MR. THOMAS: (Complies). 13 All right. Bring them in.

14 MR. COLE: I'm prepared to cite, Judge, in 14 THE BAILIFF: (Complies.)

15 Gold, Vanberg and White versus DuBarre (ph.), 639 So.2nd #15 All rise for the jury.

16 47, the District, the Fourth DCA found that it was error 16 (Thereupon, the jury was brought into the

17 to the Court to admit charts and admit demonstrative 17 courtroom.)

18 summaries and exhibits as evidence. 18 THE COURT: You may be seated. Mr. Cole,
19 The proper practice under that case and the 19 you may proceed with your cross-examination.

20 proper practice in the State has been to mark -- 20 MR. COLE: Thank you, Your Honor.

21 actually mark the document as a court exhibit, not in 21 CROSS-EXAMINATION

22 — evidence and cannot be allowed in the jury room as a 22 BY MR. COLE:

23 piece of evidence. 23 Q. Good afternoon, Dr. Guy.

24 Demonstratives are not evidence. They're 24 A. Good afternoon, Mr. Cole.

25 just demonstrating what evidence shows and helps the 25 Q. Good afternoon, ladies and gentlemen. If I

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34 (Pages 2575 to 2578)

 

   
   
 
  
  
  
  
  
  
  
  
   
  
  
   
  

 

 

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Page 2575 Page 2577 8
1 understand your testimony, Dr. Guy, there's nothing 1 Q. And you will agree with me, sir, that
2 _ wrong with a CPA firm entering into an alliance 2 there's nothing with wrong with a CPA firm, accounting
3 arrangement with another party; isn't that right? 3 firm seeking to make money, correct?
4 A. Generally speaking. I mean you still have 4 A. That's correct.
5 conduct rules, But in this situation here, I mean you 5 Q. Nothing wrong with a CPA firm seeking to
6 could have entered into an alliance, a relationship with 6 move the cheese, right?
7 someone else that had no -- did not impinge on the audit 7 A. No. Moving the cheese means to make more
8 of Bankest, yes, that's generally right. 8 money or whatever, no.
9 Q. So generally speaking, an accounting firm 9 Q. It's okay for that?
10 can enter into an alliance agreement with another 10 A. Yes.
11 company, right? 12 Q. Now, sir, if I understand your testimony,
12 A. That's correct, as long as the other company 12 ‘you are here as an expert; is that right?
13 is not its audit client. 13 A. That's correct. I'm here as an expert.
14 Q. And in this case, StrataSys was not BDO's 14 Q. And as an expert in I guess the field of
15 _ andit client, correct? 15 _ auditing, you are here under the consultancy rules; is
16 A. That's what BDO understood. That's right. 16 ‘that right?
17 Q. There's nothing in those stacks of books 17 A. Yes, I'm here under an AICPA rule called the
18 that you have there, some of which you authored, that 18 stages of standards under consulting services, yes.
19 _ says anything about it being wrong for an accounting 19 Q. As part of that rule you're required to have
20 firm to enter into an alliance agreement with another 20 integrity as well, right?
21 company, right? 21 A. Yes,I[am. Yes.
I 22 A. It does talk about an alliance agreement 22 Q. And you're required to be objective?
23 with an audit client. And that's foreboden (sic, ph.). 23 A. Iam required to be objective, that's
24 And it also talks about a conflict of interest and here 24 correct.
25 we havea conflict of interest. 25 Q. And you're also required to be independent?
Page 2576 Page 2578
Aoi Q. But again, nothing in those books that you 1 A. No,Iam not. Independence is only required
2 authored said that BDO is prohibited from entering into 2 for auditors. And all of the independence materials
3 an alliance agreement when it's not an audit company, 3 that we went over are audit requirements.
4 right? 4 For an expert such as myself, objectivity is
5 A. Well, the book addresses conflicts of 5 required. Independence is not required.
6 interest. So you can have -- if you enter into an 6 Q. Now, in exercising your objectivity --
7 alliance relationship that impinges on your audit, for 7 A. Yes.
8 example, Bankest here, then the book does address that, 8 Q.  -- you're required to take a look at -- to
9 yes. . 9 weigh evidence; is that correct?
10 Q. We'll get to conflicts of interest. In 10 A. That's correct.
11 general, though? 11 Q. And in this case you did say that you did
12 A. In general. I want to make sure I 12 weigh the evidence?
13 understand what your question is, Mr. Cole. 13 A. Yes, sir.
14 Q. In general -- 14 Q. And in weighing that evidence, sir, you
15 A. Yes. 15 believed you used your full integrity; is that right?
16 Q.  -- and we'll get to conflicts of interest, I 16 A. Tabsolutely -- II used my full integrity and
17 promise you -- in general, there's nothing wrong with an 17 I was totally objective, yes.
18 accounting firm entering into an alliance agreement with § 18 Q. Now, if I understand your testimony, sir,
19 another company, correct? 19 you started out as a staff accountant; is that right?
20 A. Well -- 20 A. After undergraduate school?
21 Q. As long as that other company is not its 21 Q. Correct.
22 audit client? 22 A. Yes, Idid. Uh-huh. (Nodding).
23 A. That's the first consideration. And the 23 Q. And in your direct testimony you didn’t give
24 second consideration or unless it creates a conflict of 24 ws many dates. When did you graduate your undergraduate
25 interest. 25 degree?
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35 (Pages 2579 to 2582)

 

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-- you've never operated as a senior

Q.

 

 

 

1 A. In 1965. 1 auditor?
2 Q. And then you went to work for Peat Marwick? 2 A. I've never operated as a senior.
3 A. It was, that's correct. 3 Q. You've never operated as a manager, correct?
4 Q. And you were there for less than a year as a 4 A. No, Ihave not.
5 _ staff accountant? 5 Q. In your review of the work papers in this
6 A. Yes. 6 case, a senior would be somebody like Chris Mohr; do you
7 Q. And then you went for your master's degree? 7 remember that?
8 A. Yes. 8 A. Yes, I remember Chris Mohr.
9 Q. And that was a one or a two year degree? 9 Q. Anda manager would be somebody like Ramon
10 A. I think J got it in a year. 10 ~~ Rivera?
qi Q. So we're in '67? 11 A. Yes.
12 A. 12 months or so. 12 Q. He's the next level up?
13 Q. About '67? 13 A. Next level up.
14 A. '67 is when I got the MBA degree. 14 Q. And Jorge Herrera who was here earlier
15 Q. And then you went back to Peat Marwick 15 today? I don't know if you know Jorge Herrera.
16 = again? 16 A. Would be a manager for one of the
17 A. Yes. 17 engagements for one year.
18 Q. And you worked as a staff auditor? 18 Q. And then above that is the senior manager,
19 A. I did, yes. ; 19 right?
20 Q. And that entire time working as a staff 20 A. Insome firms, yes.
21 auditor was approximately one year or less? 21 Q. You were never a senior manager?
22 A. That's fair. Yes. 22 A. No.
23 Q. Now, during that time period were you even a 23 Q. And above that is a partner?
24 CPA? 24 A. Yes. In some firms, yes.
25 A. No. 25 Q. And I've never -- you never operated as a
Page 2580 Page 2582
1 Q. And you didn't pass the CPA the first time? 1 partner on an audit either, have you?
2 A. No. 2 A. No, I have not.
3 Q. You did pass -- did you pass your CPA test 3 Q. And you were never a concurring partner?
4 the first time? 4 A. No, I was not.
5 A. Two parts of it, yes. 5 Q. Now, you would agree with me, sir, that a
6 Q. And then the other two parts you didn't? 6 Jot of what you discussed today in your direct testimony
7 A. Yes. 7 isa matter of judgment; isn't that right?
8 Q. Doesn't make you any less of an expert 8 A. A lot of what I discussed today is a matter
9 today? 9 of judgment?
10 A. No. 10 Q. Yes.
11 Q. In fact, it's a hard test? 11 A. Well, the subordination of judgment here is
12 A. Yes, it's a hard exam. 12 almost black and white. This is a crass case of a
13 Q. And it’s not uncommon for people to pass 13 client shutting a door, not permitting you to gain
14 parts and not pass parts? 14 access to -- unfettered access to books and records and
15 A. That's common. 15 [don't think there's a lot of judgment in there.
16 Q. Asan auditor, sir, in your less than a year 16 That's called the scope limit on one side of the coin
17 you never operated as a senior auditor, right? 17 and subordination of judgment on the other side. And
18 A. In my experience at KPMG or Peat Marwick, I 18 the conflict here -- I mean, this is so entangled that,
19 never operated as a senior, make sure Iunderstood your § 19 you know, is it judgment driven? This is one of the
20 question. 20 worst audits I think I've ever seen and it’s certainly
21 Q. Let me rephrase it to make sure we 21  --and I've seen a number of conflicts and it's very,
22 understand it. As somebody working at an accounting 22 very bad if not the worst conflicts I've seen.
23 firm conducting audits -- 23 Does it require judgment? It's fairly black
24 A. Yes. 24 and white.

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Q. Now for my question, sir.

  

 
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MR. THOMAS: Objection to the comment by

counsel. Argumentive.
THE COURT: Overruled.

BY MR. COLE: _

Q. You would agree with me, sir, that many of
the ethical concepts you discussed today --

A. Yes.

Q.  -- involve the exercise of an auditor's
judgment, right?

A. Well, I mean, there's no encyclopedia of
ethics if that’s what we're talking about. You
basically have to know based on experience or whatever
you identify when there's a potential rule problem, you
go to the rule and you discuss it.

But I want to emphasize here again, the
judgment game here, this is pathetic. These audits are
pathetic. Subordination of judgment runs rampant
throughout -- and I say don't say that lightly. With
all my soul, subordination of judgment starts from the
get-go and runs through the audit engagements.

Q. In the ethical rules that you discussed
today for the entire morning, you would agree that an
auditor's judgment is an important component of those
rules, right?

A. Judgment is important in the profession but

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36 (Pages 2583 to 2586)
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have the ability and the knowledge to recognize, hey,
here is a potential conflict.

In this case I never saw anything that
indicated they even recognized a conflict of interest.
And you can't very well deal with a conflict and you
can't very well deal with the application of judgment in
a code of conduct provision if you don't even recognize
the problem to begin with. That's (inaud.), recognize
the problem and consider, hey, we've got a potential
conflict here, let's deal with it, and let's talk about
it, and let's get other people involved, let's call a
hotline. I see none of that here.

So judgment, I don't think judgment is
required to know that you've got a conflict potential
here. No.

Q. So when an auditor is in the field, the
auditor doesn't exercise judgment in determining whether
there's a conflict, is that what you're saying?
A. I'm saying first an auditor should

recognize, should understand and know what the code of
conduct is. Especially one that's an engagement partner
that's done two or three hundred audits. I would hope
they would understand what ethical requirements are.

In this matter it doesn't appear that they
did, know what they were, they certainly did not apply

 

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when a client -- an auditor determines what they need to
do, an auditor determines, he or she determines what
evidence they need, not the client. I'm not going to

sit there and let the client cherry pick and tell me you
can have this and you can't have that. That's totally
inappropriate.

So if we're talking about judgment in a
situation where there's a limit on what you can gain
access to and given the volume of business back here at
Capital, you know, that doesn't require a lot of
judgment. I want to use the term black and white. If
you don't permit me to do what I need to do, I'm not
your auditor.

The same thing with me. If you withhold
information from me, I'm not going to get up here and
express an opinion. I'ma CPA. That's part of what the
profession is all about.

Q. Let me see if I can rephrase my question.
In determining, when an auditor determines in the
field -- talking about somebody actually in the field,
sitting in the field, they come across an issue that may
or may not be a conflict of interest, okay? You would
agree, sir, that that's a point in time where the
auditor exercises judgment, correct?

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A. Well, I would hope first the auditor would

 
   

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them. So, therefore, in response to your question did
they exercise judgment, I don't think. If they did, it
was very poor judgment.

Q. I’m not asking about BDO. I'm asking
about --

MR. THOMAS: Objection, Your Honor.
Argumentative.

THE COURT: Overruled.

THE WITNESS: You're asking me --
BY MR. COLE:

Q. Sir, I'll ask the question.

MR. THOMAS: Objection, Your Honor.
Argumentative.

THE COURT: Overruled.

THE WITNESS: Can you repeat the question?
BY MR. COLE:

Q. In applying the ethical rules, that rules ig
that were up on the board, the rules that you relied on, :
isn't it a fact that auditors are required to exercise i
judgment in applying those rules? ;

A. Auditors exercise judgment, certainly. I i
mean, there are numerous cases in an audit where you
have to apply judgment. But there's not a lot of
judgment involved, Mr. Cole, when I need access to books
and records because they're 99.5 percent of the business

  
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37 (Pages 2587 to 2590)

 

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and they're a big chunk of the business throughout all
this and I'm not permitted to gain access.

J mean, we can play games but if someone
exercises judgment and says I don't need to do that,
they're saying I don't need adequate evidence to support
the financial statements and I'm going to subordinate my
judgment to Mr. Parlapiano.

If that's what we're talking about, I can't
go there. So we can sit here all afternoon and you can
ask that question again and that's the way I have to
answer it.

That requires that I answer your question
with my integrity and that's what I'm going to do and
that's what I just did.

Q. Okay. You will agree with me, sir, that in
exercising judgment, experience is important? Would you
agree with me on that?

A. Well, we're talking about the code of
conduct. Engagement partners should have an
understanding and an awareness of when there's a code of
potential problems. But I don't think I've ever met an
expert who is an engagement partner that I would say has
a walking encyclopedic knowledge of the code. But they
know when they get into problems.

However, I would say every auditor, even in

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and he didn't recognize it. Shame on him.

So is experience important? Maybe it's a
bad experience.

Q. Experience is important, correct?

A. For what, Mr. Cole?

Q. When an auditor exercises judgment, you will
agree with me, sir, that experience is important; isn't
that correct?

A. I will say to you when a client prevents me
from gaining access to Capital's books and records, I
know right then and there we have a heck of a problem
and I know that it's a scope limit and I know if I
proceed in the face of that scope limit it's
subordination of judgment.

Now, it doesn't require a lot of experience
for me to have because I'm going to go back and tell you
my auditing students at University of Texas Austin would
have recognized that there's a problem here, we're not
going to be able to do this work.

So, I mean, how much experience does the
University of Texas -- and I had Ph.D. students as well,
but I'm talking about in auditing 101.

Q. I'm going to talk to you about the so-called
scope limitation in a moment. I would just like an
answer to my question.

 

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auditing 101 which I taught on a number of occasions
recognizes, hey, you stop me from doing what I need to
do, you limit what I need to do, that's called a scope
limit. You limit what I'm going to do and the other

side of that is subordination of judgment and I am
walking out. I'm not going to be your auditor.

And that is taught from at least in auditing
101 and it's a section in every auditing textbook I've
ever seen, including mine.

So auditors are the ones that determine what
they need, not the client saying, oh, this is what we'll
give you. When the client does things of that sort, a
smart auditor, the prudent auditor, the auditor using
due care walks, leaves the engagement, doesn't do the
audit. That's what happens. And that's what should
happen. That's what should have happened here. It did
not.

Q. Inexercising judgment, when an auditor
exercises judgment, you would agree with me, sir, that
experience is important, right?

A. Imean, we come up with these abstract
concepts. Mr. Lenner has lots of experience, you would
hope he would have recognized this is subordination of
judgment. You would have hoped he would have recognized
conflict of interest. But all those years of experience

  

 

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Page 2590 #

  
  
   
   
   
   
  
   
  
   
   
   
   
   
   
  
   
    
 

MR. THOMAS: Objection.
THE COURT: Overruled.
I haven't gotten involved yet but I'm about
to. It's overruled.
BY MR. COLE:
Q. Do you agree with me, sir, that when an
auditor exercises judgment, experience is important?
A. Ido not agree with you in the situation
here that experience gives you much of anything. They
didn't even recognize the problem. I saw no situation
where they recognized the problem. I saw where
Mr. Lenner told Mr. Rivera, hey, this is an important
client, you know, a business feeder. What kind of
advice does an audit partner give to a manager to tie
one hand behind his back and go gently with this
client.
This is about auditing, Mr. Cole, and you
can't sell your audit. You can't basically forego your
audit and violate GAAS to make more money.
I'm sorry. That's the way the chips fall
and I'm sorry. I'm sorry that it happened. If they had
done what they should have done, we wouldn't be in this
courtroom.
Q. Is it your testimony, sir, that experience
is not important in the exercise of judgment; is that

 
 

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38 (Pages 2591 to 2594)

 

 

Page 2591 Page 2593
1 your testimony? 1 __ likewise I worked as an academic and as a standard
2 A. No. Experience is important in the exercise 2 setter. We just took a different road.
3 of judgment. But I told you an auditing 101 student 3 Q. And would you agree, sir, that Mr. Lenner's
4 would recognize a scope limit and a subordination 4 30 years, Mr. Ellenburg's 25 years, and Mr. Rivera's 10
5 problem in this case. The client says no, you can't 5 years at the time --
6 possibly audit Bankest without auditing Capital and 6 A. Yes.
7 ~~ gaining access to books and records. 7 Q. -- during that time, that would be the time
8 That doesn't require rocket science. That 8 when an auditor would be required to take a look at the
9 requires -- if you gave that as a final exam in 101 I 9 rules and apply them to the situation in front of him or
10 think you would -- that would be a test that would be 10 her; isn't that right?
11. described as easy. And they don't have experience. 11 A. I would hope they would look at the rules
12 We're talking about two or three hundred audits that Mr. 12 and apply the GAAP rules, the GAAS rules and the ethics
13. Lenner has done. I'm sorry that he apparently has a 13 rules, yes.
14 woeful amount of knowledge of the code of conduct. 14 Q. And all you did was look at others in your
15 Q. You would agree with me, sir, that 15 experience and tell them whether or not they were doing
16 Mr. Lenner has maybe 30 times the experience you havein {16 right or wrong; isn't that right?
17 the field; is that right? 17 MR. THOMAS: Objection, argumentative.
18 A. That's a very loaded question. In the 18 THE COURT: Overruled.
19 field? I mean, what field are we talking about? Are we 19 THE WITNESS: I mean, I basically, Mr. Cole,
20 talking about code of ethics? No. Are we talking about 20 received hundreds and hundreds of questions about here
21 writing? No. But if you're talking about in the field 21 is a situation, what do you think I should do. I wasn't
22 that he's, quote, been a senior, a manager, a partner, 22 saying you're right, you're wrong. I was providing
23 yes, I’ve never done that. 23 assistance.
24 Q. And you would agree with me, sir, that 24 BY MR. COLE:
25 Mr. Ellenburg has 25 times the experience you do in the 25 Q. You never applied your own judgment in
Page 2592 Page 2594
1 field as an auditor? 1 ethics in the field with the picks and shovels, did you?
2 A. Inthe field. That's very pejorative. 2 A. I wasn't doing pick and shovel work.
3 Q. Well, I'll use your words. Using the picks 3 Q. You said after you became -- you got your
4 and the shovels, he's got 25 years more experience than 4 doctoral degree?
5 you do? 5 A. Yes.
6 A. If you want to characterize it that way. 6 Q. You went to work at Texas Tech; is that .
7 I've had responsibility for hundreds and hundreds of 7 right?
8 questions from audit partners doing pick and shovel work 8 A. At Texas Tech, and then followed at the
9 wondering what to do and how to do it. 9 University of Texas.
10 Q. Now, and Mr. Rivera -- 10 Q. And after you were an academic for seven
11 A. Mr. Rivera you said? 11 years or eight years --
12 Q.  -- ten times as much experience as you had 12 A. Eight years or so.
13 with the picks and the shovels, right? 13 Q.  -- you went would at the AICPA?
14 A. Out working as a manager I've never worked 14 A. I did, yes.
15 asa manager. I've handled the most complex questions 15 Q. And at the AICPA, if I understand your
16 in this profession involving auditing for years and 16 testimony, you were responsible in the first bunch of
17 ‘years and years. Our experience is different. And what 17 years and some in the second for doing research; is that
18 itis, you understand that I basically pursue an 18 _~—sright?
19 education. I became an accounting educator. And I 19 A. The first bunch of years I just want to make
20 devoted a large part of my life to being an educator, 20 sure --
21 that I've written a lot as you see here. I became the 21 Q. You said you were initially a senior
22 standard setter. 22 research person?
23 Mr. Lenner. Mr. Rivera. They took one 23 A. I was director of audit research. But I
24 route. I took another route. I'm not going to belittle 24 wasn't doing -- I was doing projects and working with
25 the fact that they work as a manager, senior, and 25 So, you

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standards, SASes that were new to the ASB.

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39 (Pages 2595 to 2598)
Page 2595 Page 2597 #
1 know, yeah, I was working on projects and policy and 1 right?
2 things of that sort, yes. 2 A. Yes, I did.
3 Q. So if I understand that, Dr. Guy -- 3 Q. And you could see that on the second to the
4 A. Yes. 4 last page, right, page 27? Is your name down there, Dan
5 Q. -- part of what you did is you supervised 5 Guy?
6 other people doing research in the standards; is that 6 A. On page 27, yes, my name is listed as vice
7 ~~ fair? 7 president, comma, auditing. Yes.
8 A. Writing standards, yes. 8 Q. And you have Mimi Blanco, I gather that
9 Q. And if I understand what you did is in 9 person helped you out, too?
10 drafting these standards, you provided them to the 10 A. That's correct.
11 auditing standards board, is that right, in any given 11 Q. And all these other people, who are they,
12 = year? 12 justin general? You don't have to tell me who
13 A. Yeah. We had groups that -- task force. We 13. Mr. Sullivan is. Who are they?
14 worked with the task forces and eventually they'd go to 14 A. They basically are practitioners.
15 the ASB. That's correct. 15 Q. And these are the people you report to; is
16 Q. And who were the people on the ASB? 16 that right?
17 A. At that time, there were 15 people on the 17 A. These are the people I worked with.
18 ASB. Basically one typically was from government, one § 18 Q. Well, you created drafts and you gave it to
19 was from academics. The others were primarily 19 them, right?
20 practitioners. Were practitioners I think, by and 20 A. Along with the task force of practitioners
21 large. 21 typically.
22 Q. And those were the people who typically -- 22 Q. So it was you and other people?
23 what would happen to the drafted rule that you drafted 23 A. That's right.
24 when it got to the ASB? 24 Q. And there you are, vice president of
25 A. We'd have discussions and public meetings. 25 auditing, right?
Page 2596 Page 2598 f
1 Q. And then ultimately the ASB could amend the 1 A. That's correct.
2 rule; is that right? p 2 Q. And they are up there, right?
3 A. Changes -- you're looking at a draft and 3 A. That's correct.
4 yes, paragraphs are discussed. Yes, changes were made. 4 Q. So, for example, Samuel Gunther, right,
5 Q. And it was the ASB who made the decision as 5 that's the person who is on the auditing standards :
6 to what the rules should be ultimately, correct? 6 board, correct?
7 A. Basically yes. But I had a big voice at the 7 A. That's correct.
8 table. 8 Q. He would be one of the people who would have :
9 Q. But no vote? 9 a vote as to whether or not this particular SAS became [E
10 A. Ihad no vote. I never voted on an SAS. 10 the rule, correct? f
11 Q. You were never part of the ASB? 11 A. Correct. ;
12 A. No, I was never a member of the ASB. I was 12 Q. You didn't have a vote, did you?
13 the senior -- I was the vice president of research on 13 A. No, Thad a big influence but no vote. :
14 the ASB staff -- on the AICPA staff, I'm sorry. 14 Q. And Robert H. Temkin, he was one of the
15 MR. COLE: Your Honor, may I approach the 15 people on the board as well?
16 — witness with Exhibit 128 in evidence? 16 A. That's correct.
17 THE COURT: Yes. 17 Q. And he would have a vote as well, correct?
18 MR. COLE: (Complies). 18 MR. THOMAS: Objection, Your Honor. Side- i
19 BY MR. COLE: 19 bar. :
20 Q. Sir, I want to know if you recognize this 20 THE COURT: I'm not going to rule until we :
21 document? 21 have a side-bar. ;
22 A. Yes, I do. 22 (Thereupon, there was a side-bar conference :
23 Q. And is this one of those SASes? 23 outside the presence and hearing of the jury.) :
24 A. This is SAS No. 58, yes. 24 THE COURT: Yes? :
25 Q. And this is one of the SASes you worked on,

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MR. THOMAS: If you will recall, I wanted to
 

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put in something like this and I also wanted to put in

the book. And Mr. Cole objected on the grounds that it
was bolstering. He did it in the last trial and he did

it in this trial and you sustained that objection on the
grounds that I couldn't show the back part where he was.

Now, after getting your ruling precluding me
from doing it, Mr. Cole has put it up, put his experts
up here, Robert Temkin, and said that he got to vote and
my expert didn't.

MR. COLE: I don't -- that’s what we talked
about Jast time.

THE COURT: What is your objection?

MR. THOMAS: My objection is that it's dirty
and it's using exactly your ruling keeping me from
putting my stuff from my expert and it's sticking it to
me with a knife and doing exactly what you said I
couldn't do it. And he did it before I could object.

You know it and I know it. You said no because it's
bolstering. So you sustained the objection. You said
no, that's not proper in this courtroom, which is what
you said. It’s not proper to do. Then he hands it to

me, puts his expert on and says not only do I not get to
put mine up but my expert gets to vote and mine doesn't.

THE COURT: I'm not sure what the objection
is.

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40 (Pages 2599 to 2602)

   
    
  
  
  
  
  
  
   
  
  
   
   
  

Page 2601 :

sustain your objection based on this time? It's not
bolstering. And it is -- you're right, it's bolstering
your expert. Is that your objection?

MR. THOMAS: Maybe I'm not being clear.

THE COURT: Mr. Thomas, I know what you're
trying to say.

MR. THOMAS: Please let me try because this
shouldn't happen in courtrooms.

THE COURT: What are you requesting from
this Court? You're objecting -- you don't have a legal
objection.

MR. THOMAS: My legal objection is you just
violated your rule and bolstered his expert in exactly
the way you said it was improper in this courtroom.

THE COURT: I don't know who his expert is.

MR. THOMAS: I'll show you.

THE COURT: I believe you.

MR. THOMAS: Judge, come on. This is
outrageous. . His expert is Robert H. Temkin. You said
in this courtroom you can't put this up and bolster your’
expert. And prevent --

THE COURT: I understand that.

MR. THOMAS: So what he did is stand up and
not attack.

THE COURT: Mr. Thomas, you don't have a

 

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Page 2600

MR. COLE: It's --

THE COURT: But you tell me.

MR. COLE: It's a dirty pool. You know it
as well as he does apparently. But let me respond if I
may. Last time we were at this side-bar I objected.
Your ruling was sustained. But if I question his
credibility it would open the door. I have now
questioned his credibility. It's opened the door. I
put in anticipating what Mr. Thomas would do because he
brought up the right to do that and I anticipated what
Mr. Thomas is doing and now Mr. Thomas is upset because
I anticipated.

MR. THOMAS: That's not what Mr. Thomas is
upset about.

THE COURT: What is your legal objection?
You objected after the fact so I'm allowing you --

MR. THOMAS: My objection is the objection
that you sustained in this courtroom.

THE COURT: And I sustained it properly.

MR. THOMAS: And said it was bolstering.

THE COURT: And you didn't object. I didn't
hear --

MR. THOMAS: As soon as I recognized what he
was going to do I objected and asked for a side-bar.

THE COURT: What do you want me to do,

 

 

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Page 2602

legal objection. You do not have a legal objection. I
understand your position. I understand it. Now I need
you to respond because I will suspect -- I don't know
what you are requesting me to do. What do you want me
to do?

MR. THOMAS: I'm requesting that you strike
his expert, Robert Temkin. That's what I'm requesting.

MR. COLE: Well, that's a request. First of
all, I'm allowed to question this person and saying I
was on the AICPA, I did this, I did that, I did that. I
wrote the rules. I was the man. I put up the APB. My
expert is part of that APB. I'm allowed to attack his
credibility. And open the door like you said before.

You sustained the objection and you did say
after that. It was -- it wasn't just sustained and walk
back. If I open the door, then Mr. Thomas can come back
in and I opened the door, I admitted. And I anticipate
what he was going to do. And that's — I'm allowed to
do that.

THE COURT: That's enough.

MR. THOMAS: I need to get this on the
record.

THE COURT: You can get it on the record but
we're wasting time.
MR. THOMAS: This is really outrageous.

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41 (Pages 2603 to 2606)

 

    
   
  
  
  
  
   
  
  
  
  
  
   
  
   
  
  
    
  
  
   
 
  
   
   
  
  
 

 

 
 

 

   

 

Page 2603 Page 2605 §

1 THE COURT: It is not outrageous. It's 1 Sometimes objections are made on one side

2 playing within the rules. 2 during direct and I've sustained them. And sometimes

3 MR. THOMAS: Then I'm in the wrong 3 objections -- and sometimes they're not. I sustain the

4 courtroom. 4 objections and then the other side gets up and say

5 THE COURT: Mr. Thomas -- 5 something similar and there are no objections.

6 MR. COLE: What did you say? I'm sorry, 6 Why did I allow it? Because there were no

1 7  whatdid you say? 7 objections.

8 MR. THOMAS: I said that I am in the wrong 8 But in this case, you objected after that

9 courtroom. 9 document was on the screen.
10 THE COURT: She got it. Mr. Thomas, you're 10 MR. THOMAS: I objected as soon as I
11 treading very closely and I know you're a good lawyer. 11 recognized that what Mr. Cole was doing was using this
12 MR. THOMAS: I feel very strongly about this 12 document to bolster his expert in a way that you
13 _ sort of thing. 13 prohibited me from doing mine.
14 THE COURT: Stop. 14 THE COURT: Because your expert is on the
15 MR. THOMAS: Let me make my objection. 15 stand at this time. And the objection was made at the
16 THE COURT: No. 16 time and I sustained it.
17 Ladies and gentlemen, you're to step into 17 MR. THOMAS: If I could just please get
18 the jury room and you're not to discuss the case amongst $18 Espirito Santo's objection I would appreciate it.
19 yourselves. 19 THE COURT: We already have it.
20 THE BAILIFF: Ali rise for the jury. 20 MR. THOMAS: I haven't, Your Honor, and I
21 (Thereupon, the jury was escorted out of the 21 would appreciate the opportunity to do it. With your
22 courtroom.) 22 permission -- really, I don't want to be disrespectful
23 (Thereupon, the witness excused himself from 23 ~=but --
24 the courtroom.) 24 THE COURT: You've been there already.
25 THE COURT: Mr. Thomas, you have access to §25 MR. THOMAS: I'm trying not to.

Page 2604 Page 2606f

1‘ the record. 1 THE COURT: And I'm going to let it go ;

2 MR. THOMAS: Thank you. You ruled in this 2 because you were there.

3 courtroom -- 3 MR. THOMAS: I apologize for that.

4 THE COURT: I don't want to hear it again. 4 THE COURT: And one thing I do not tolerate

5 MR. THOMAS: I thought you said I have 5 unless it is obvious enough is to have some -- have a

6 access to the record. 6 lawyer call me unfair. I think I've proven to all of

7 THE COURT: You've said it three times for 7 you that I've been as fair and impartial under the rules

8 the record. Say something new for the record other than 8 as I could have been and I have during both trials. So

9 what you just said. 9 if you don't believe that I'm being fair and impartial,
10 MR. THOMAS: It’s not the attacking of my 10 Mr. Thomas, then there's motions to deal with that i
11 expert that I'm objecting to. What I'm objecting to is 11 issue. :
12 taking a rule that you set in this courtroom and using 12 MR. THOMAS: [I appreciate that and if I A
13 it 13 actually do believe that at any time, Your Honor, A
14 THE COURT: Mr. Thomas, that's what you 14 Espirito Santo will use those motions for that purpose. :
15 stated. I don't set rules. J rule on objections at the 15 ButI do not believe that and that is not what I said. E
16  propertime. IfI were to set rules other than the 16 What I said when we were in side-bar is if this is :
17 lawyers standing up and objecting one for each side, 17 within the rules, then I'm in the wrong place. And you ;
18 then the Third DCA would be really upset because I'mnot §18 know that I feel strongly about this sort of thing. :
19 being fair and impartial. 19 You've seen it over the course of weeks of this trial. E
20 I mle on objections as they come up, under 20  AndIdo not believe it is proper, whether your expert's :
21 the circumstances as they come up, and I rule on motions 21 on the stand or not, to do something to bolster someone :
22 in limine as they're presented to the Court. That's 22 ~~ else's -- i
23 whatI do. That’s my job, and parties play within the 23 THE COURT: You give me a memorandum of law ;
24 — qules and that’s what you lawyers do for a living, as and we'll stop right here and we'll spend today and this i
25 long as you keep within the rules. afternoon dealing with that issue and give me case law :

 

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42 (Pages 2607 to 2610)

 

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Page 2607

tomorrow and tell me exactly how to deal with this
objection.

MR. THOMAS: Your Honor, you've dealt with
it. You're obviously upset with me because of something
I did.

THE COURT: I'm not upset with you.

MR. THOMAS: But you know -- you know that I
feel strongly about this stuff.

THE COURT: And Mr. Thomas, not only do I
know you feel strongly about it, you need to give me
supporting documentation to back up your objection to
tell me that he cannot do that on the stand. Just
because his expert is on the stand and he's asking
Dr. Guy whether he votes on these rules on or not, is
that bolstering his expert? Show me.

MR. THOMAS: I will show you.

THE COURT: Please.

MR. THOMAS: I don't need to stop the case
because I'll do like I do like everything else, I'll
handle it myself.

THE COURT: Unless on redirect. But I
assume you want a ruling in the way that I should rule
and that's the way that you want me to rule. Let me
decide. And that goes for Mr. Cole as well.

MR. THOMAS: I understand that. Your Honor,

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Page 2609

withdrawn.

MR. THOMAS: Oh, it's not withdrawn.

THE COURT: Then, honestly, Mr. Thomas if
the objection is not withdrawn, I need the legal
substance and I need your legal case law on that issue.
Treally do. I'm not telling you --

MR. THOMAS: There's not a pending question
for me to object to.

THE COURT: But you made the objection and
I'm not going to rule on your objection until I believe
I should be ruling in the appropriate way.

MR. THOMAS: Well, I'll withdraw the
objection until J think there's a question pending that
I believe is objectionable.

THE COURT: Bring in Dr. Guy in first.

THE BAILIFF: (Complies.)

(The witness takes his seat at the witness
stand.)

THE BAILIFF: All rise for the jury.

(Thereupon, the jury was brought into the
courtroom.)

THE COURT: All right. You may be seated.

Mr. Cole, you may proceed with your
cross-examination.

MR. COLE: Thank you, Your Honor.

 

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Page 2608

if I think you're — as you know, if I thought that you
were actually trying not to be fair just like you said I
would say that so. That's not what I meant to say.

I do think this is unfair. But at this time
I think the best interest of my client is to proceed
with this case. Because we don't want another mistrial.
We don't want to keep from getting to the point where we
don't get our judgment and I'll do just like I do when
they object too much, T'll punish them for it.

So let's go.

THE COURT: Are you sure? I just want to
make sure you're sure.

MR. THOMAS: I've never been more sure. And
we will take care of it ourselves and if there comes a
chance where I think you should intervene again,
Espirito Santo, we'll make an objection, I will ask you
to do it.

I've made my objection for the record and if
there is an additional motion to be made, we'll make it
at the appropriate time but we're ready to proceed.

MR. COLE: I believe I'm allowed to impeach
the witness the way I'm allowed to.

THE COURT: Whatever he's going to say he's
going to say.

I guess your objection is overruled or

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Page 2610}

BY MR. COLE:

Q. Dr. Guy, we were talking about the time that
you were involved with the AICPA as the director of
research, was it?

A. We were talking about that, yes.

Q. I just want to make sure I have the title
right.

A. Director of audit research.

Q. IT understand your testimony, sir, you
were there for approximately 19 years?

A. 18 years plus a little bit -- I always say,
Mr. Cole, almost 19 years.

Q. I'm not going to hold you to a couple of
months. J just wanted to get back on track.

When did you join the AICPA again?

A. I joined the AICPA in 1979.

Q. And you left when?

A. Ileft in 1998.

Q. '98. Okay. Now, after -- during that
entire time, sir, those 18 and a half, 19, whatever it
is years, you served as the director of research and
then you had vice president -- you had some vice
president titles as well, is that right?

A. Yes.
Q. And during the entire time you were in that

 
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43 (Pages 2611 to 2614)

 

Page 2611

   
  
    
  
   
   
  
    
    
  
 

Page 2613 —

did the subject of alternative distribution channels

 

1 role of advising the audit standards board, right? 1
2 A. Yes. 2 come up?
3 Q. And you also answering -- you said you 3 A. Well, the scope of service as a CPA firm,
4 developed a hot line of some sort? 4 the term alternative distribution channel is this term
5 A. In 1996 I received expanded responsibilities 5 that's used with BDO Seidman but it's not a widely used
6 inthe A&A called the accounting and auditing hot line, 6 term. It's a service extension -- service extension
7 reported to me, for example. 7 lines and scope of services, and I had literally
8 Q. But that entire time is it fair to say that 8 hundreds of discussions about those topics.
9 part of your responsibilities at least was to advise the 9 Q. T'lluse your term. Are you using
10 auditing standards board? 10 alternative distribution channels, scope of services,
11 A. That's correct. 11 lines --
12 Q. And during that time period, you were 12 A. Yes.
13 advising the auditing standards board with respect to 13 Q.  -- interchangeably?
14 rules; is that right, SASes? 14 A. Yes. Basically, yes.
15 A. SASes. We were developing SASes and -- 15 Q. And it's your testimony, sir, you had lots
16 that's correct. 16 and lots of those conversations?
17 Q. And who develops the ethical standards? 17 A. Absolutely, yes.
18 A. The AICPA's professional ethics executive 18 Q. During the entire 19 years?
19 committee. 19 A. Yes. ;
20 Q. And you weren't on that board, right? 20 Q. And were those conversations including the
21 A. No, I was not. 21 auditing standards board?
22 Q. And you weren't on the research committee 22 A. Rarely. No.
23 for that board either? 23 Q. Rarely or no?
24 A. No, I was not. 24 A. Maybe occasionally, but they were
25 Q. So you had no role in dealing with the rules 25 discussions I had with various groups that had an
Page 2612 Page 2614 &
1 that we've been dealing with today, namely the code of 1 interest in standard setting, state societies of CPAs,
2 professional conduct, right? 2 with staff, in-house staff and things of this sort. So
3 A. My role was limited to frequent discussions 3 I don't recall -- limited discussions. I don't recall a
4 with the director of professional ethics in terms of 4 lot about them in terms of -- how it was demarcated
5 things that they were doing and we call signals every 5 between an ASB discussion or discussion I had that was
6 two weeks or so. 6 part of my role and responsibility at AICPA.
7 Q. You call signals? 7 Q. So notwithstanding all these discussions you
8 A. We basically had meetings and we talked 8 had, is it fair to say that it never bubbled up into the
9 about, well, here is a problem we've got, how do you 9 auditing standards board; is that fair?
10 think we can address this problem, should we address it 10 A. It was discussed. I just don't recall the
11 inan SAS, those kind of discussions went on -- 11 frequency of discussion. The ASB did not promulgate or
12 Q. I'm sorry. 12 publish or develop a standard on the scope of services.
13 A. -- went on. For example, my -- I had those 13 Q. Right. All I'm asking you, I thought you
14 kinds of discussions frequently with what I referred to 14 said no and I'm not trying to catch you, I'm just trying
15 as the director of the professional ethics. 15 to understand. Did the auditing standards board
16 Q. But it is fair to say that you had no direct 16 _ actually discuss whether it enacted a rule or not? Did
17 role either as a board member, an executive, a 17 it actually discuss the concept of scope of services, or
18 researcher for that board in enacting any one of these 18 lines or --
19 ethical rules? 19 A. I don't recall a discussion of that nature
20 A. Ididnot. That's fair to say. 20 at the ASB level. I don't recall an agenda item. The
21 Q. Now, during the time period that you were at 21 ASB has responsibilities for a GAAS, the ten auditing
22 the AICPA in the committee that you worked on developing [22 standards, and SASes. One of those standards is the i
23 the SASes and the GAASes and that stuff? 23 independence standards. So, obviously, that would be :
24 A. Yes. 24 discussed from time to time. :
25 25 Q. But you as the staff would discuss it quite j
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Q. Okay. Any time during your entire 19 years

 

 
 

    
  
    
  
  
  
   
  
  
  
   
  
        
   
   
    

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44 (Pages 2615 to 2618)

 

   
   
  
  
  
  
   
  
  
  
  
  
  
   
  

 
 

 

Page 2615 Page 2617
1 abit, correct? 1 A. There is a rule that addresses referral fees :
2 A. Yes. 2 and things of that sort. And it addresses an audit
3 Q. And although you discussed it quite a bit, 3 client.
4 in the entire 19 years you were at the AICPA there was 4 Q. And the referral fees are something that
5 never a rule created that prohibited alternative 5 we've discussed -- you drew it on the piece of paper, do
6 distribution channels, scopes, and lines, right? 6 you remember that?
7 A. Well, there are rules that, for example, 7 A. That's correct. And we were looking at the
8 that say what's acceptable and what's not acceptable for 8 _ referral. We were looking at the different fees that
9 audit clients. 9 were being paid from a conflict of interest perspective.
10 Q. I'm talking about the SASes, is there any 10 ~~ wasn't looking at those in a Rule 503 perspective.
11 __ SAS that says you're not allowed to have an alternate 11 Q. Because StrataSys was not BDO's --
12 distribution channel, scope, or line, however you want 12 A. StrataSys was not a BDO client.
13 to call it? 13 Q. Now, I promised you and we'll go into it
14 A. The SAS that addresses independence is 14 right now.
15 the -- what we introduced earlier as AU 220 on 15 A. Okay.
16 independence. 16 Q. You wanted to talk about the scope -- the
17 Q. And nothing in AU 220 says that an 17 so-called scope limitation -- the Ramon Rivera event.
18 accounting firm is prohibited from having a line or a 18 Remember we started talking about that?
19 scope or alternate distribution channels? 19 A. Okay. :
20 A. That deals with impacts on things on your 20 Q. And you understand, sir, that Mr. Rivera
21 audits. For example, it talks about independence and 21 _ testified that on -- withdrawn.
22 appearance. So you could have some activity that would § 22 If I understand your testimony, you believe
23 impinge on your audit clients and have an appearance of {23 that there was a subordination of judgment in 1998 in
24 independence problem, but per se in terms of alternative §24 connection with the Ramon Rivera incident?
25 distribution channels it doesn't explicitly address 25 A. Ido. Yes.
Page 2616 Page 2618
1 that. 1 Q. And your understanding is based upon
2 Q. And that would be this entire book, right? 2 Mr. Rivera's testimony and his affidavit; is that right?
3 A. Irefer to AU 220. 3 A. That's certainly information that I looked
4 Q. This entire book doesn't refer to 4 at, yes.
5 alternative distribution channels, right? 5 Q. And I thought that's what you testified to.
6 A. That's not in that book. 6 Is there anything else you relied on?
7 Q. Doesn't prohibit alliances with companies, 7 A. Well, I mean there are other depositions and
8 right? 8 things that I read, testimony I read by Mr. Freeman,
9 A. It doesn't prohibit -- 9 testimony by Mr. Mohr, and Amanda Nardini who was under
10 Q. Alliances? 10 Mr. Mohr in the 2000 audit. Mr. Mendez. A litany of
11 A. No. Unless, here again, you have an -- it 11 things that [looked at. Mr. Ellenburg.
12 impinges on an activity that a CPA firm or a 12 Q. What do you recall Mr. Mohr and Ms. Nardini
13 relationship or whatever causes the CPA firm not to be 13 talking about with respect to the Ramon Rivera incident?
14 independent. Then you -- tells you how to report. 14 A. I don't with respect to the Ramon Rivera
15 Q. And we'll get to that. I promise you. And 15 incident. I'm sorry.
16 = in Exhibit 7344, which is the code of professional 16 Q. I'm just talking about the Ramon Rivera
17 conduct, that big fat document -- 17 incident.
18 A. Yeah. Okay. 18 A. Iunderstand. I was going beyond that.
19 Q._ -- there's nothing in there that prohibits 19 Thank you.
20 alternative distribution channels per se, correct? 20 Q. I thought on direct you said you were 5
21 A. The scope of services and what you can do 21 relying on Mr. Rivera's testimony, and his affidavit; is :
22 and not do with audit clients. So there's sections on 22 _ that right? :
23 _ scope of services for an audit client. 23 A. That's correct. 5
24 Q. And those sections prohibit fee sharing with 24 Q. Now, and I believe you may have said --
25 an audit client, right? correct me if I'm wrong -- that you relied on what

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45 (Pages 2619 to 2622)

 

 
   
  
  
   
   
  
    
  
  
   
   
   
  
   
   
   
   

 

Page 2619 Page 2621 §
1 Mr. Ellenburg said as well? 1 checks as customer checks. So the work continues.
2 A. Yes. The work stoppage, yes. 2 Q. Did I hear you just say that the work papers
3 Q. Now, you believe that the subordination of 3 show that Mr. Rivera relied on Capital checks?
4 judgment occurred when in the sequence? 4 A. No. The work papers don't show that. His
5 A. Well, when you have a limit on what you can 5 testimony does,
6 do, the door is slammed, and the door is slammed first 6 Q. Let me see if I can take this step by step.
7 on Ramon Rivera on a Monday. The door is slammed again J 7 Mr. Rivera is denied information on F riday -- so he
8  on--I'msorry, go back. The door is slammed first on 8 says?
9  aFriday when Mr. Rivera attempts and indicates to 9 A. Icould not hear you.
10 Mr. Mendez and Mr. Parlapiano that he needs access to 10 Q. Let's take it step by step. It's the end of
11 Capital books and records. And then it's slammed again 11 ___ the day, I'm getting hoarse. Mr. Rivera is denied
12  onMonday. And then its work is restarted and he's told 12 information on Friday, so he says?
13 basically that Mr. Parlapiano is an important person in 13 A. That's correct.
14 the community and the kind of things we looked at I 14 Q. And he walks off or he calls Mr. Ellenburg
15 believe in paragraph 24. 15 and he walks off the job?
16 And then at that point when you proceed to 16 A. That's correct.
17 move or forge ahead in the audit, you're basically -- 17 Q. Subordination of judgment?
18 you're facing dead on an inability to do what the 18 A. No. You should walk off the job and stay
19 auditor needs to do. Remember, at that point in time, 19 _ off the job until there's unfettered access to Capital
20 1998, 99.5 of the business is over at Capital so you 20 books and records.
21 can't audit this shell because the business is over at 21 Q. So subordination of judgment at that point,
22 Capital. 22 correct?
23 When that door is shut and you persist to 23 A. Only if you continue.
24 not get evidence and to be limited and to have evidence 24 Q. He walked off the job. Is there a
25  orinformation cherry picked for you, then you've 25 subordination of judgment at that point?
Page 2620 Page 2622
1 subordinated your judgment. 1 A. There's work stoppage. I can't get
2 Q. Where in the sequence of the Ramon Rivera 2 evidence. If you can't get evidence, you basically in
3 incident do you say was the point that a subordination 3 the face of not getting evidence withdraw from the
4 of judgment occurred? 4 - engagement. .
5 A. Well, let me answer that. Let's say the 5 Q. Sohe walks off the job. There's no
6 door is shut the first time on the Friday. And let's 6 subordination of judgment, right?
7 say everybody packs up and goes home and that's the end 7 A. When does the subordination of judgment
8 of the engagement, there would be no subordination of 8 takes place? Certainly when they accept audit evidence
9 judgment. 9 that is inadequate audit evidence because there's a
10 Let's say on Monday, the second time, based 10 _ limit on your access to Capital books and records and
11 onthe phone call that Mr. Parlapiano and Mr. Lenner, 11 you issue an opinion, you subordinated judgment.
12 Mr. Ellenburg, Mr. Rivera have, and the door is shut a 12 Nov, is there an exact line? I guess one
13 second time. If you pack up and say, well, we can't do 13 could say certainly by the time they issued an audit
14 the audit, there is no subordination of judgment. 14 opinion and they had danced to the tune of
15 And then the third time when you restart and 15 Mr. Parlapiano calling the shots and closing doors, they
16 you are admonished, if you will, the manager on the job 16 certainly subordinated judgments by that point in time.
17 to basically, you know, develop client relation skills 17 If they had withdrawn from the engagement at
18 and basically to recognize that Mr. Parlapiano is an 18 any point in time before issuance of the audit opinion
19 important person in the business community, and at that 19 on the 1998 financial statements we wouldn't be talking
20 point if you say, well, wait a minute, we can't do this 20 about subordination of judgment. We wouldn't be talking
21 audit, and you withdraw from the engagement, we wouldn't {21 about scope limits which I said is one side of the coin,
22 __ behere.talking about subordination of judgment. 22 _ the flip side is subordination of judgment.
23 The work continues. The audit is restarted 23 Q. When he walks off the job has a
24 and continues and it continues with, for example, and 24 subordination of judgment occurred at that time?

the work papers show that Mr. Rivera relied on Capital

     

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to Capital books and records. Mr. Ramon Rivera never
gained access that he needed, that BDO needed to audit
Bankest financial statements.

Q. Monday rolls around, and there's apparently
a telephone conversation attended by Mr. Lenner,

Mr. Rivera, and Mr. Ellenburg. You're familiar with
that, right?

A. Yes. Uh-huh. (Nodding).

Q. And during that telephone conversation,

Mr. Lenner says if you don't give us the documents that
we need, we're going to have to resign from the audit.
You're familiar with that, right?

A. Yes.

Q. Did a -- was that a subordination of
judgment?

A. If you resign from the audit, no. If you --
subordination of judgment occurs basically when you
persist and forge ahead and you are basically arm-
twisted by the client and don't do what generally
accepted auditing standards say and don't get the needed
evidence that you have to have to support the opinion on
financial statements. So they could again --

Q. The answer is --

A. They could have quit and said, let's forget
this. We're not going to audit Bankest and we wouldn't

Page 2624

be tatking about subordination of judgment.

Q. When Mr. Lenner hangs up the phone and says,
we won't continue with the audit without the evidence,
has a subordination of evidence occurred at that point?

A. No. It's a door shut. It's the first class
red flag. You've got a domineering client that's
basically attempting to influence the scope of the audit
and, in fact, does influence the scope of the audit
eventually and BDO persists with this domineering person
who not only attempts to but does influence the scope of
the audit. Therefore, we have subordination of
judgment.

Q. Now, it's your understanding that a few days
later Mr. Rivera is told to go back on the job.

A. Iunderstand that.

Q. And Mr. Rivera received the information he
wanted for the first ten items on the subsequent
collections test?

A. First ten or eleven.

Q. First group. You are familiar with that,
right?

A. Yes.

Q. And that's the information he says he wanted
to finish the audit, right?

A. That's correct.

 

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46 (Pages 2623 to 2626)
Page 2625 §

Q. Now, if Mr. Rivera testified that he doesn't
remember one way or the other whether or not he received
checks for 11 through 32, what evidence are you relying
on to determine whether, in fact, he received checks for
11 through 32? ;

A. He basically indicated that he used Capital
checks for 11 through 32, not customer checks. We know
those transactions were by and large fake. And, quote,
there were no customer checks.

Q. My question is, if Mr. Rivera testified that
he did not remember one way or the other whether or not
customer checks were reviewed for 11 through 32 on that
list, what evidence are you relying on to determine that
customer checks were not reviewed?

A. Well, I understand that Mr. Rivera indicated
that he used Capital checks and I've looked at those --
we're talking about a worksheet. And I looked at the
checks that correlated and they, in fact, were Capital
checks.

Oh, you looked at checks?

I looked at checks, some checks, yes.
Where did you get those checks from?

I got the checks from counsel.

. I'm giving you a hypothetical. If he's
testified -- if he testified that he doesn't remember

or)

Page 2626 §

one way or the other whether or not he received customer
checks or a member of his staff received customer checks
for 11 through 32, okay --

A. Yeah.

Q.  -- would you rely on Mr. Rivera's testimony
to determine whether or not he, in fact, received --

A. You would ascertain through the forensic
work that the people did if, in fact, such customer
checks existed to begin with. And if they did not exist :
and none had been produced, no fake customer checks have [E
been produced in this matter, fake customer checks, then
you would say, well, it couldn't have been done.

Q. Who is the only person who said no fake
customer checks were produced?

A. Mr. Freeman, the court-appointed fiduciary
receiver so indicated.

Q. And he wasn't there at the time, was he? ;

A. Mr. Ramon Rivera indicated that he basically ;
used Capital checks instead of customer checks. :
Mr. Mendez indicated that no fake checks were produced 4
by -- he was the fraudster, of course, and he indicated
that. I saw no fake customer checks that were produced

in discovery.
So it's hard -- where are the customer s
checks that were relied on if such things existed? No !

 
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47 (Pages 2627 to 2630)

 

 

Page 2627 Page 2629 §
1 fake customer checks have been produced so it looks to 1 Q. Now, Mr. Rivera is the only person who's
2 me next to impossible that anyone looked at customer 2 testified that no customer checks were made, were faked;
3 checks, for example, for items 11 through 32. 3 you understand that, right?
4 Q. You would agree Mr. Freeman was not there at 4 A. No.
5 the time? 5 MR. THOMAS: Objection, Your Honor.
6 A. I don't think he was there, no. 6 THE COURT: Overnuled.
7 Q. You would agree if Mr. Rivera doesn't 7 THE WITNESS: That's not true.
8 remember one way or the another if he received customer 8 BY MR. COLE:
9 checks that the only evidence there is what Mr. Mendez 9 Q. Sir, let me rephrase my question.
10 said? 10 Mr. Riviera was the only person who was there for the
11 A. No. No. Again that's not fair, Mr. Cole, 11 fraud that testified that no customer checks were fake,
12 because I said he testified, he indicated that he relied 12 correct?
13 on Capital checks. So for those 11 through 32 there 13 A. Mr. Mendez testified.
14 were no customer checks. There were no fake customer 14 Q. I'msorry, Mr. Mendez.
15 checks produced according to Mr. Freeman. Mr. Mendez 15 A. So who are we talking about? Let's go back
16 affirmed that. I looked at 11 through 32 and those 16 and start over.
17 checks and the dates in the column were dates of Capital 17 Q. You would agree Mr. Mendez was the only
18 checks to Bankest. They were not, quote, customer 18 person that was there at the time who testified that no
19 checks. 19 customer checks were fake, right?
20 So I mean, you know, we can't turn water 20 A. He testified to that, yes.
g2i into wine here. These things don't exist. And I've not 21 Q. Only one, only person?
22 seen one. 22 A. Mr. Rivera testified he could only get and
23 Q. I'msorry. Are you finished? 23 only got and relied on Capital checks.
24 A. Ihave not seen, quote, a fake customer 24 Q. Did you read the testimony, the trial
25 check. 25 testimony in the trial?
Page 2628 Page 26309
1 Q. My question is a little different. You've 1 A. Iscanned a lot of the testimony, yes.
2 testified that Mr. Freeman wasn't there, right? 2 Q. And you're absolutely sure that Mr. Rivera
3 A. He was not on the audit team. He is a 3 _ said he only received Bankest Capital checks for 11
4 fiduciary, the receiver in this matter. 4 through 32?
5 Q. Mr. Freeman wasn't there at the time of the 5 A. Basically for those items, that's my
6 fraud, correct? 6 understanding, that's correct. Capital checks.
7 A. No. 7 Q. Ifhe said he didn't remember, you wouldn't
8 Q. Mr. Mendez was, correct? 8 agree that his testimony is no longer reliable for you, :
9 A. Yes. He so testified. 9 right? fe
10 Q. Mr. Rivera was an auditor at the time, 10 A. I would say basically here we go again. 11 jl
11 _~—sright? 11 through 32, no checks have been produced in this matter :
12 A. He was the manager of the job, yes. 12 to indicate there were fake customers checks.
13 Q. And you didn't go into this gigantic 13. Mr. Mendez so testified. Mr. Freeman testified they
14 warehouse and look for customer checks yourself? 14 ~~ didn't exist. :
15 A. I did not. I did not go back and attempt to 15 So, here again, we're turning water into i
16 redo the audit. I did not go on the gigantic warehouse 16 wine. The checks don't exist. So even if he said, :
17 and look for documents myself, no. 17 ~~ well, I don't remember what I did, even if he said that, ;
18 Q. And the only checks you saw were checks that 18 then the proof is in the pudding. There are no fake :
19 counsel gave you, correct? 19 customer checks. :
20 A. Isaw the box basically that contained the 20 Q. You will agree with me if he said I don't :
21 _ items for the worksheet that we are talking about from 1 §21 remember one way or the other that you're not going to !
22 through 32. 22 __ rely on his testimony for your opinion, right?
23 Q. And that was the box of items that counsel 23 MR. THOMAS: Objection. Asked and answered, :
24 gave you? 24 Your Honor. iy
25 A. That's correct. 25 THE WITNESS: I basically --- :
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48 (Pages 2631 to 2634)

 

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1 THE COURT: Hold on, Dr. Guy. 1 referred to customer checks, right?

2 MR. THOMAS: Objection.. Asked and answered. 2 A. I testified to a worksheet I think that's

3 THE COURT: I heard you. 3 called C-10 or whatever in 1998. And then here we have

4 THE WITNESS: I'm sorry. 4 awork paper for the 1999 audit.

5 THE COURT: I'm sustaining the objection. 5 Q. My question, sir, is I thought you said when

6 BY MR. COLE: 6 asked you the question there were customer checks

7 Q. Now, Mr. Rivera was only there for the 1998 7 throughout -- reflected in the work papers throughout

8 and 1999 audit, right? 8 the five years of audits, right?

9 A. That's my understanding. Only on this 9 A. There were. Ask the question again.
10 = audit. He was at BDO longer but only at the Bankest. 10 Q. Sure. I asked you -- I'll ask it again.
11 Q. I'm talking just about the Bankest. 11 A. Okay.
12 A. Okay. 12 Q. Isn't it a fact, sir, that even during the
13 Q. And you understand that there were three 13 time Mr. Rivera was there and even after the time
14 audits thereafter, right? 14 Mr. Rivera was there, there were customer checks
15 A. Nineteen -- the 2000, 2001, 2002, yes. 15 referred to multiple places in the work papers?
16 Q. And each one of those audits, the work 16 A. Well, they're referred to here at point A on
17 papers refer to customer checks being received, right? 17 _ this worksheet, at footnote A on this worksheet. In the
18. A. I think there is an audit work paper for 18 prior year they were referred to in footnote A. In the
19 2000 that Mr. Mohr had manager or responsibilities for § 19 next year I recall there was very limited documentation
20 the staff doing the work, there's a note in there about 20 but subsequent cash collection work. But there was a
21 checks that's a very convoluted note, incomprehensible 21 note on the third or fourth page of the work papers that
22 ~~ note. 22 Mr. Mohr had written and it alludes to customer checks,
23 MR. COLE: May I approach, Your Honor? 23 I believe.
24 THE COURT: You may. 24 Q. Anywhere else you remember seeing customer
25 MR. COLE: (Complies). 25 checks?

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1 BY MR. COLE: 1 A. Well, in the 2000 -- I mean, this is a

2 Q. I'm showing you an exhibit that's been 2 memory test.

3 marked as Plaintiffs’ Exhibit 3004 in evidence. Do you 3 Q. No, no, if you don't remember, I'll show

4 recognize 3006? Is this the 1999 audit work papers? 4 you.

5 A. 1999. 5 A. In the 2000 audit there were some so-called

6 Q. And you understand, sir, that 1999 6 _ control work done that was really pathetic control work.

7 Mr. Rivera was the manager, correct? 7 ‘It was in no shape, form or fashion control work. And

8 A. Ido. Yes. 8 in 2001 there was another attempt to do control work

9 Q. And Mr. Mohr was involved in this as well? 9 that was probably the most substandard control work I've
10 A. Tunderstand Mr. Mohr to be involved on 10 ever seen, and it is referred to I believe.
11 every engagement for the five years we're talking about. 11 So do I have a recall of every place,
12 Q. And did you ever interview Mr. Mohr? 12 ___ prebably not. But I've given you certainly ones that I is
13 A.- No, but I read his deposition. 13 know of.
14 Q. And did you ever interview Mr. Lenner? 14 Q. You will agree with me that they were, i
15 A. No, but I read his deposition and testimony. 15 customer checks were referred to throughout the entire
16 Q. Did you ever interview Mr. Ellenburg? 16 five years of the audits, right? :
17 A. No, but I read -- what he had to say. 17 A. Well, you know, we might want to look in --- i
18 Q. And take a look at page BDO 377 which is 18 Q. Okay. Let's look at it. ;
19 399, 19 A. We might want to look in 2001, 2003. :
20 (Technician complies.) 20 Remember, for example, in 2000, it started in 1999. :
21 And you testified -- I'm sorry. Are you 21 ~~ Even if they had done this work on customer checks which :
22 there? It's on the screen. 22 they're fake, they didn't have them, but even if they :
23 A. I'mon -- oh, yes, thank you. I'm here. 23 had done this work there's a still a subordination of i
24 Q. You testified that you remember a work paper 24 judgment because of the work they did. Look howinvoice

  

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evidence in 1999 all the way up to well over 90 percent
in the last two years. That's insubordination. That's
insufficient evidence. That demonstrates that they
basically subordinated their judgment.

So this audit comes crashing down without
regard. I mean, we shouldn't, the jury shouldn't think
that this thing rises or falls. The subsequent cash
collection work is bad but the other work is bad as well
and it demonstrates a lack of independence.

So we can talk about audit evidence until
we're blue in the face. But remember, I've said this
firm wasn't independent. And even if they had done an
impeccable audit, which this is a far cry from anything
that even represents close to being a decent audit, even
if they had done that, they're not independent. There's
no evidence, it -- there's nothing in these work papers
that qualifies as audit evidence because you can't refer
to an audit procedure if you're not independent.

They're not independent so, let's not forget
that independence is a bedrock foundation of auditing
and if you're not independent, you can't come along and
say, well, look what they did here.

It's important to know that. So this stuff
should not masquerade as audit evidence because it is
not.

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Q. IfI'm not mistaken, sir, one of the reasons
why you say there was an independence violation was
because there was a subordination of judgment, right?

A. That's absolutely correct.

Q. And one of the reasons you say there's a
subordination of judgment is because in 1998 Ramon
Rivera didn't receive what he asked for, right?

A. That's one of the reasons. And they went on
with the audit.

Q. And the thing that Ramon Rivera was seeking
was customer checks, right?

A. That's one of the reasons.

Q. And you said that you've never seen customer
checks, right?

A. No, I didn't say that.

Q. You've seen limited customer checks?

A. No, Ihad never said I've never seen
customer checks. No. I said I have never seen fake
customer checks.

We talked about the first 10 or 11 items on
the 1998 work papers. And those items there are copies
of customer checks that relate to those items.

Q. And you've seen -- you saw customer checks
throughout the entire time period of the five years?

A. There's some -- a little bit of real

 

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business here. And what I'm talking about are fake
customer checks.

Q. Sir, you saw in your review customer checks
throughout the entire time period of the audits; is that
correct?

A. Isawsome customer checks. I don't
remember exactly. I just alluded to the fact that for
1998 I saw some customer checks.

Q. And you saw some throughout the rest of the
audit as well?

A. I would expect there would be some.

Believe it or not there was an occasional real
transaction.

Q. My question is, sir, you spent $300,000 or
more on looking at all the work papers and looking at
documents. My question is very simple: Did you see
customer checks?

MR. THOMAS: Objection. Argumentative, Your
Honor.

THE COURT: Overruled.

THE WITNESS: You know, I don't recall the
details of customer checks except the ones that I
mentioned. Remember, here again, you can show me all
this stuff but they're not independent. These work
papers do not support any opinion on the financial

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statements. It’s a travesty and they ran roughshod over
the public trust for each and every year.
BY MR. COLE:
Q. Sois your answer that you don't remember?
I just want to know. You don't remember seeing customer
checks for the other four years of the audits?
A. I saw -- you've shown me some customer
checks before from other years. You personally have.
Q. Ishowed you customer checks?
A. I think that's the case, yeah. But -- you
know, I don't recall. Let me say I don't recall.
Q. That's fine. Let's take a look at ---
MR. COLE: You know what, Judge? It's a
good time to stop.
THE COURT: Ladies and gentlemen, I'm going
to let you go home now because obviously there's a
reason for that. You know what reason that is. Do not
discuss the case amongst yourselves. Do not allow
anyone else to discuss the case with you. Do not forma
definite or fixed opinion about the merits of the case
until you've heard all the evidence, the arguments by
the lawyers and the instructions on the law by me.
You're not to acknowledge the presence of
the lawyers outside this courtroom and they're not to
acknowledge yours and you're not to see, hear or read

 
 

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50 (Pages 2639 to 2641)

 

 

 

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1 any accounts of this case in the media. 1 CERTIFICATE OF COURT REPORTER

2 Okay? 9:30 tomorrow. Same place. You know 2

3 where to go. Have a good night. 3 I, GIZELLA BAAN, court reporter, before whom

4 (Thereupon, the jury was escorted out of the 4 the foregoing statement was taken, do hereby certify

5 courtroom.) 5 that the statement made was taken by me stenographically

6 THE COURT: You know what? Rosie, go get 6 at the time and place mentioned in the caption hereof

7 them, bring them all back here. 7 and thereafter transcribed by me to the best of my

8 THE CLERK: (Complies). 8 ability; that said transcript is a true record of the

9 (Thereupon, the jury was brought into the 9 statement given; that I am neither counsel or, related —
10 courtroom.) 10 to, nor employed by any of the parties to the action in
11 THE COURT: You don't have to sit down. 11 which these proceedings were taken; and further, that I
12 Just come over here. You do not have to sitdown. Step §12 am nota relative or employee of any party hereto, nor
13 outside. Walk around the rail so you all fit in here. 13 financially or otherwise interested in the outcome of
14 There you go. That's good. 14 this action.
15 Everybody is here. 2, 4, 6, 8, there's one 15
16 missing. Who is missing? 16
17 JUROR: Nancy. 17
18 THE COURT: Did she leave? 18
19 JUROR: No, I think she's in the bathroom. 19 GIZELLA BAAN
20 THE COURT: You're all here now. Tomorrow $20 Court Reporter and Notary Public
21 weare leaving at 4:00 o'clock in the afternoon. 21 in and for the State of Florida
22 There's a demonstration outside, an immigration 22
23 demonstration starting at 5:00. I want you all to be 23
24 able to get out of here before that happens. So plan 24
25 for tomorrow we're only going until 4:00, unless you 25

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1 _-want to stay longer.

2 I won't give you the instruction. Have a

3. good night.

4 (Thereupon, the jury was escorted out of the

5 courtroom.)

6 THE COURT: All right. Dr. Guy, you're not

7 to discuss the testimony you've given or the testimony

8 you're about to give with anyone and that includes all

9 the lawyers.
10 Tomorrow morning at 9:30. :
11 MR. THOMAS: Your Honor, we will rest soon,
12 so could we ask the first witness of BDO or the first ;
13 couple of witnesses of BDO? f
14 THE COURT: Mr. Cole?
15 MR. COLE: Yes. The first witness will be :
16 Sandy Lenner. And the next one is Ellenburg but we'll i
17 submit a formal designation tonight. :
18 THE COURT: Okay. Have a good night. :
19 fi
20 (Thereupon, at approximately 4:30 p.m., the P
21 above portion of the trial was concluded.) i
22 * * * :
23 ;
24 :

N
ul

 

  

 

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